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                           EXHIBIT A
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                THE NATIONAL COLLEGIATE STUDENT LOAN TRUST 2006-4




                                  TRUST AGREEMENT




                                        Among




                             WILMINGTON TRUST COMPANY
                                 as OWNER TRUSTEE




                                          and




                         THE NATIONAL COLLEGIATE FUNDING LLC
                      and THE EDUCATION RESOURCES INSTITUTE, INC.
                                      as OWNERS

                                       Dated as of
                                    December 7,2006




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           TRUST AGREEMENT, dated as of December 7, 2006, among The National Collegiate
   Funding LLC, a Delaware limited liability company (the "Depositor"), The Education Resources
   Institute, Inc., a private non-profit corporation organized under Chapter 180 of the Massachusetts
   General Laws, and Wilmington Trust Company, a Delaware banking corporation (the "Owner
   Trustee").

          WHEREAS, the parties hereto intend to amend and restate that certain Interim Trust
   Agreement, dated as of November 2, 2006 (the "Interim Trust Agreement"), by and between the
   Depositor and the Owner Trustee, on the terms and conditions hereinailer set forth.

          NOW THEREFORE, in consideration of the premises and of the mutual agreements
   herein contmned and of other good and valuable consideration, the receipt and sufficiency of
   which are hereby acknowledged, the parties hereto amend and restate the Interim Trust
   Agreement in its entirety and further agree as follows:

                                              ARTICLE I

                                            DEFINITIONS

          Section 1.01 Capitalized Terms. For all purposes of this Agreement, the following
   terms shall have the meanings set forth below:

          "Administration Agreement" means the Administration Agreement, dated as of
   December 7, 2006, among the Trust, the Indenture Trustee, the Owner Trustee, the Depositor
   and First Marblehead Data Services, Inc., as Administrator, as it may be amended from time to
   time.

          "Administrator" means First Marblehead Data Services, Inc., a Massachusetts
   corporation, as Administrator under the Administration Agreement, or any successor
   Administrator as appointed pursuant to the terms of the Administration Agreement.

           "Affiliate" means, with respect to any specified Person, any other Person controlling or
   controlled by or under common control with such specified Person. For the purposes of this
   definition, "control" when used with respect to any specified Person means the power to direct
   the management and policies of such Person, directly or indirectly, whether through the
   ownership of voting securities, by contract or otherwise; and the terms "controlling" and
   "controlled" have meanings correlative to the foregoing.

           "Agreement" means this Trust Agreement, as it may be amended or restated from time to
   time.

          "Assignments of Servicing Agreements" means each of the Servicer Consent Letters,
   dated as of December 7, 2006, among the Trust, The First Marblehead Corporation and the
   Pennsylvania Higher Education Assistance Agency, CFS-SunTech Servicing LLC, Great Lakes
   Educational Loan Services, Inc., EdFinancial Services, LLC, Nelnet, Inc. and ACS Education
   Services, Inc., respectively, relating to the assignment of each of the respective Servicing
   Agreements to the Trust.




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           "Authorized Oflicer" means any officer of the Owner Trustee who is authorized to act for
   the Owner Trustee in matters relating to, and binding upon, the Trust and whose name appears
   on a list of such authorized officers furnished by the Owner Trustee as such list may be amended
   or supplemented from time to time.

         "Back-up Agreement" means the Back-up Administration Agreement, dated as of
   December 7, 2006, among the Trust, the Depositor, the Owner Trustee, the Administrator and
   U.S. Bank National Association.

          "Bankruptcy Action" has the meaning set forth in Section 4.01(b)(iv)(G).

           "Beneficial Interest" as to any Owner, means all or any part of the interest of that Owner
   in the Trust, including without limitation its (a) right to a distributive share of the Profit and Loss
   of the Trust, (b) right to a distributive share of the assets of the Trust, and (c) right to direct or
   consent to actions of the Owner Trustee and otherwise participate in the management of and
   control the affairs of the Trust.

           "Business Day" means any day that is not a Saturday, Sunday or any other day on which
   commercial banking institutions in Delaware are authorized or obligated by law or executive
   order to be closed.

          "Capital Account" means the Capital Account maintained for each Owner pursuant to
   Article VI of this Agreement.

          "Capital Contribution" means the amount of money contributed or deemed to have been
   contributed by an Owner to the capital of the Trust, which shall be as set forth on Schedule A to
   this Agreement.

         "Certificate of Trust" means the Certificate of Trust filed with the Secretary of State by
   the Owner Trustee on behalf of the Trust.

          "Custodial Agreements" means each of the Custodial Agreements, dated as of December
   7, 2006, among the Trust, the Indenture Trustee and the Pennsylvania Higher Education
   Assistance Agency, CFS-SunTech Servicing LLC, Great Lakes Educational Loan Services, Inc.,
   EdFinancial Services, LLC, Nelnet, Inc. and ACS Education Services, Inc., respectively.

        "Deposit and Sale Agreement" means the Deposit and Sale Agreement, dated as of
   December 7,2006, between the Depositor and the Trust.

          "Deposit and Security Agreement" means the Deposit and Security Agreement, dated as
   of December 7,2006, among the Administrator, TERI and the Trust.

         "Depositor" means The National Collegiate Funding LLC, a Delaware limited liability
   company.

           "Distribution Date" means the first Business Day following a day on which the Owner
   Trustee obtains receipt of funds or, if instructed by the Owners, such other Business Day as they
   shall specify in writing.

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          "Distribution Date Statement" means the statement described as such in Section 7.07.

           "Distribution" means any money or other property distributed to an Owner with respect
   to its Beneficial Interest.

          "Eligible Investments" means one or more of the following (it being acknowledged by
   the parties hereto that Eligible Investments will have the meaning set forth in the Indenture until
   such time as the Notes are no longer outstanding):

           (a)    Obligations of or guaranteed as to principal and interest by the United States or
   any agency or instrumentality thereof when such obligations are backed by the full faith and
   credit of the United States;

          (b)     Repurchase agreements on obligations specified in clause (a) maturing not more
   than one month from the date of acquisition thereof, provided that the unsecured obligations of
   the party agreeing to repurchase such obligations are at the time rated by each of the Rating
   Agencies in its highest short-term rating available;

           (c)    Federal funds, certificates of deposit, demand deposits, time deposits and bankers'
   acceptances (which shall each have an original maturity of not more than 90 days and, in the case
   of bankers' acceptances, shall in no event have an original maturity of more than 365 days or a
   remaining maturity of more than 30 days) denominated in United States dollars of any U.S.
   depository institution or trust company incorporated under the laws of the United States or any
   state thereof or of any domestic branch of a foreign depository institution or trust company;
   provided that the debt obligations of such depository institution or trust company at the date of
   acquisition thereof have been rated by each of the Rating Agencies in its highest short-term
   rating available; and, provided further that, if the original maturity of such short-term obligations
   of a domestic branch of a foreign depository institution or trust company shall exceed 30 days,
   the short-term rating of such institution shall have a credit rating in one of the two highest
   applicable categories from each of the Rating Agencies;

           (d)    Commercial paper (having original maturities of not more than 365 days) of any
   corporation incorporated under the laws of the United States or any state thereof, which, on the
   date of acquisition has been rated by each of the Rating Agencies in its highest short-term rating
   available; provided that such commercial paper shall have a remaining maturity of not more than
   30 days;

          (e)    A money market fund rated by each of the Rating Agencies in its highest rating
   available which may be a money market fund of the Owner Trustee; and             .

          (I)     Other obligations or securities that are acceptable to each of the Rating Agencies
   as an Eligible Investment hereunder; provided, however, that no instrument shall be an Eligible
   Investment if it provides for either (i) the right to receive only interest payments with respect to
   the underlying debt instrument or (ii) the right to receive both principal and interest payments
   derived from the obligations underlying such instrument and the principal and interest payments
   with respect to such instrument provide a yield to maturity greater than 120% of the yield to
   maturity at par of such underlying obligations; and provided further that so long as the Notes are
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   outstanding, no instrument that is not a permitted investment under the Indenture shall be an
   Eligible Investment for purposes of this Agreement.

           "ERISA" means the Employee Retirement Income Security Act of 1974, as amended.

          "Fiscal Year" means the twelve-month period ending on June 30 each year or such
   portion thereof as the Trust may be in existence.

         "Indemnification Agreements" means each of the Indemnification Agreements, dated as
   of December 7, 2006, between the Trust, the Depositor and The First Marblehead Corporation
   and Bank of America, N.A. and JPMorgan Chase Bank, N.A., respectively.

          "Indenture" means the Indenture between the Trust and U.S. Bank National Association,
   as Indenture Trustee, dated as of December 1, 2006, as amended or supplemented from time to
   time pursuant to which the Notes are to be issued.

           "Indenture Trustee" means the bank or trust company acting as Indenture Trustee under
    the Indenture.

           "Interested Noteholders" shall have the meaning set forth in the Indenture.

         "Issuer Order" means the Issuer Order to the Indenture Trustee from the Trust dated
    December 7,2006.

          "Issuer Orders to Authenticate" means the Issuer Orders to Authenticate to the Indenture
   Trustee from the Trust dated December 7,2006.

          "Loan Originators" means each of the originators of the Student Loans, as set forth on
    Schedule B attached hereto, as amended or supplemented from time to time.

          "Loan Purchase Agreements" means each of the loan purchase agreements entered into
    between each of the Loan Originators and The First Marblehead Corporation, as set forth on
    Schedule C attached hereto, as amended or supplemented from time to time. .

          "Net Cash Flow" means, with respect to any fiscal period of the Trust, all revenues of the
   Trust decreased by (a) cash expenditures for operating expenses (including interest on
   indebtedness of the Trust but not including expense items which do not require current cash
   outlay), (b) reserves for contingencies and working capital established in such amounts as the
   Owner Trustee, with the consent of the Owners, may determine, (c) repayments of principal on
   any Trust indebtedness, and (d) taxes.

           "1933 Act" has the meaning set forth in Section 3.02(a).

          "Notes" mean the collateralized student loan asset backed notes to be issued by the Trust
    pursuant to the Indenture.

           "Noteholder" means any holder of the Notes.



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              "Owner" means each of the Depositor, TERI and any other Person who becomes an
        owner of a Beneficial Interest.

               "Owner Trustee" means Wilmington Trust Company, a Delaware banking corporation
       with its principal place of business in the State of Delaware, not in its individual capacity but
       solely as trustee, or any successor thereto, duly appointed in accordance with Section 12.01
       hereof.

                "Percentage Interest" means the initial undivided beneficial interest in the Trust Property
        of an Owner expressed as a percentage of the total initial undivided beneficial interests in the
        Trust Property. References to Percentage Interests herein shall be solely for the purpose of
        certificating Owners' interests hereunder and for any other purpose specified in this Agreement.

               "Periodic Filings" means any filings or submissions that the Trust is required to make
        with any state or Federal regulatory agency or under the Code.

               "Person" means any individual, corporation, partnership, joint venture, limited liability
        company, association, trust (including any beneficiary thereof), estate, custodian, nominee,
        unincorporated organization or government or any agency or political subdivision thereof.

               "Plan" has the meaning set forth in Section 3.04(d).

               "Plan Assets" has the meaning set forth in Section 3.04(d).

               "Rating Agencies" means Moody's Investors Service, Inc., Fitch, Inc. and Standard &
        Poors Rating Services, a division of The McGraw-Hill Companies, Inc.

                "Secretary of State" means the office of the Secretary of State of the State of Delaware.

               "Servicers" means the Pennsylvania Higher Education Assistance Agency, CFS-SunTech
        Servicing LLC, Great Lakes Educational Loan Services, Inc., EdFinancial Services, LLC,
        Nelnet, Inc. and ACS Education Services, Inc. and any other loan servicer satisfying the Rating
        Agency Condition.

               "Servicing Agreements" means (a) the Amended and Restated Private Student Loan
        Servicing Agreement, dated as of September 28, 2006, between the Pennsylvania Higher
        Education Assistance Agency and The First Marblehead Corporation, (b) the Private
        Consolidation Agreement dated as of March 26, 2004 as amended, between CFS-SunTech
        Servicing LLC and The First Marblehead Corporation, (c) the Non-FFELP Loan Servicing
        Agreement, dated as of May 1, 2003, as amended, by and between Great Lakes Educational
        Loan Services, Inc. and The First Marblehead Corporation, (d) the Alternative Servicing
        Agreement dated as of February 1, 2004, as supplemented, between EdFinancial Services, LLC
        (as successor in interest to Educational Services of America, Inc.) and The First Marblehead
        Corporation, (e) the Loan Servicing Agreement, dated as of August 1, 2001, as amended,
        between Nelnet, Inc. (as successor in interest to UNIPAC Service Corporation) and The First
        Marblehead Corporation, and (f) the Alternative Servicing Agreement, dated as of March 1,
        2005, as amended, between ACS Education Services, Inc. and The First Marblehead
        Corporation, all of which agreements will be assigned to the Trust concurrent with the initial

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       purchase of Financed Student Loans, or any other servicing agreement between the Issuer and a
       servicer under which such servicer agrees to service Financed Student Loans included in the
       Indenture Trust Estate, which servicing agreement shall satisfy the Rating Agency Condition.

              "Servicer Consent Letters" means each of the Servicer Consent Letters, dated as of
       December 7, 2006, among The First Marblehead Corporation, the Trust and the Pennsylvania
       Higher Education Assistance Agency, CFS-SunTech Servicing LLC, Great Lakes Educational
       Loan Services, Inc., EdFinancial Services, LLC, Nelnet, Inc. and ACS Education Services, Inc.,
       respectively

               "Sharing Ratio" means, with respect to any Owner, the ratio (expressed as a percentage)
       specified on Schedule A attached hereto.

               "Statutory Trust Statute" means the Delaware Statutory Trust Act, 12 Del. Code §3801 et
       seq.

               "Structuring Advisor" means The First Marblehead Corporation.

               "Structuring Advisory Agreement" means the Structuring Advisory Agreement between
       the Structuring Advisor and the Trust, dated as December 7,2006.

              "Student Loans" means the education loans, to or for the benefit of students, originated
       under one of the Student Loan Programs.

                "Student Loan Notes" means the promissory notes to be sold to the Trust by the Loan
        Originators pursuant to the Loan Purchase Agreements representing education loans, to or for the
        benefit of students, originated under the Student Loan Programs.

              "Student Loan Programs" means each of the programs for the origination of the Student
        Loans by each of the Loan Originators pursuant to the Loan Purchase Agreements.

               "Super-majority Owners" shall have the meaning set forth in Section 4.03.

              "TERI" means The Education Resources Institute, Inc., a private non-profit corporation
       organized under Chapter 180 of the Massachusetts General Laws.

              "TERI Deposit Account" means the special deposit account established by TERI
        pursuant to the Deposit and Security Agreement.

             "TERI Guaranty Agreements" means each of the Guaranty Agreements entered into
       between each of the Loan Originators and TERI as set forth on Schedule D attached hereto, as
       amended or supplemented from time to time.

              "TERI Guaranteed Loans" means Student Loans originated under the Student Loan
        Programs owned by the Trust and guaranteed by TERI pursuant to the Guaranty Agreements.

               "Transfer" means the sale, transfer or other assignment of all of an Owner's right, title
        and interest in all or a portion of such Owner's Beneficial Interest.


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         "Trust" means The National Collegiate Student Loan Trust 2006-4 established by this
   Agreement.

          "Trust Certificate" means a certificate evidencing the Beneficial Interest of an Owner in
   substantially the form attached hereto as Exhibit 1.

          "Trust Property" means all right, title and interest of the Trust or the Owner Trustee on
   behalf of the Trust in and to any property contributed to the Trust by the Owners or otherwise
   acquired by the Trust, including without limitation all distributions, payments or proceeds
   thereon.

          "Trust Related Agreements" means any instruments or agreements signed by the Owner
   Trustee on behalf of the Trust, including without limitation, the Indenture, the Loan Purchase
   Agreements, the Administration Agreement, the Deposit and Sale Agreement, the Deposit and
   Security Agreement, the Servicer Consent Letters, the Structuring Advisory Agreement, the
   Assignments of Servicing Agreements, the Back-up Agreement, the Custodial Agreements, the
   Notes, the Indemnification Agreements, the Issuer Order and the Issuer Orders to Authenticate.

          Tax Terms:

          "Adjusted Capital Account Deficit" means, with respect to any Partner, the deficit
   balance, if any, in such Partner's Capital Account as of the end of the relevant Fiscal Year, after
   giving effect to the following adjustments:

         (a)     Credit to such Capital Account the minimum gain chargeback that such Partner is
   deemed to be obligated to restore pursuant to the penultimate sentences of sections 1.704-2(g)(l)
   and 1.704-2(i)(5) of the Regulations and the amount of such Partner's share of Partner
   Nonrecourse Debt Minimum Gain; and

           (b)     Debit to such Capital Account the items described in sections 1.704-
   l(b)(2)(ii)(d)(4), 1.704-1(b)(2)(ii)(d)(5) and 1.704-1(b)(2)(ii)(d)(6) of the Regulations.

          The foregoing definition of Adjusted Capital Account Deficit is intended to comply with
   the provisions of section 1.704-1(b)(2)(ii)(d) of the Regulations and shall be interpreted
   consistently therewith. '

          "Code" means the Internal Revenue Code of 1986, as amended.

         "Nonrecourse Deductions" has the meaning set forth in section 1.704-2(b)(l) of the
   Regulations.

         "Nomecourse Liability" has the meaning set forth in section 1.704-2(b)(3) of the
   Regulations.

         "Partner Nonrecourse Debt" has the meaning set forth in section 1.704-2(b)(4) of the
   Regulations.




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          "Partner Nonrecourse Debt Minimum Gain" means an amount, with respect to each
   Partner Nonrecourse Debt, equal to the Partnership Minimum Gain that would result if such
   Partner Nonrecourse Debt were treated as a Nonrecourse Liability, determined in accordance
   with section 1.704-2(i)(3) of the Regulations.

           "Partner Nonrecourse Deductions" has the meaning set forth in sections 1.704-2(i)(l) and
    1.704-2(i)(2) of the Regulations.

           "Partners" means the Owners.

           "Partnership" means the Trust.

           "Partnership Minimum Gain" has the meaning set forth in sections 1.704-2(b)(2) and
    1.704-2(d) of the Regulations.

          "Profit and Loss" means, for each Fiscal Year, an amount equal to the Partnership's
   taxable income or loss for such Fiscal Year, determined in accordance with section 703(a) of the
   Code (for this purpose, all items of income, gain, loss, or deduction required to be stated
   separately pursuant to section 703(a)(1) of the Code shall be included in taxable income or loss),
   with the following adjustments:

          (a)     Any income of the Partnership that is exempt from federal income tax and not
   otherwise taken into account in computing Profit or Loss pursuant to this definition shall be
   added to such taxable income or loss;

            (b)     Any expenditures of the Partnership described in section 705(a)(2)(B) of the Code
    or treated as expenditures under section 705(a)(2)(B) of the Code pursuant to section 1.704-
    l(b)(2)(iv)(i) of the Regulations (other than expenses in respect of which an election is properly
    made under section 709 of the Code), and not otherwise taken into account in computing Profit
    or Loss pursuant to this definition, shall be subtracted from such taxable income or loss;

            (c)     Notwithstanding any other provisions of this definition, any items which are
    specially allocated pursuant to Section 7.03 or 7.04 shall not be taken into account in computing
    Profit or Loss.

            The amounts of the items of Partnership income, gain, loss, or deduction available to be
    specially allocated pursuant to Sections 7.03 and 7.04 shall be determined by applying rules
    analogous to those set forth in clauses (a) and (b) above.

           "Regulations" means the federal income tax regulations promulgated by the United States
    Treasury Department under the Code as such Regulations may be amended from time to time.

            All references herein to a specific section of the regulations shall be deemed also to refer
    to any corresponding provision of succeeding Regulations.

           "Regulatory Allocations" has the meaning set forth in Section 7.04.




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                                               ARTICLE II

                                            ORGANIZATION

           Section 2.01 Name. The Trust continued hereby shall be known as The National
    Collegiate Student Loan Trust 2006-4, in which name the Owner Trustee may take any action as
    provided herein.

            Section 2.02 Ofiice, The principal place of business and principal office of the Trust
    shall be in care of the Owner Trustee, at the address set forth in Section 14.05. The Trust shall
    also have an ofiice at 800 Boylston Street - 34th Floor, Boston, Massachusetts 02199.

            Section 2.03   Purposes and Powers.

            (a)    The purpose of the Trust is to engage in the following activities and only these
    activities:

                   (i)     To acquire a pool of Student Loans, to execute the Indenture and to issue
            the Notes;

                 (ii)     To enter into the Trust Related Agreements and to provide for the
           administration of the Trust and the servicing of the Student Loans;

                  (iii)   To engage in those activities and to enter into such agreements that are
           necessary, suitable or convenient to accomplish the foregoing or are incidental thereto or
           connected therewith; and

                  (iv)    To engage in such other activities as may be required in connection with
           conservation of the Trust Property and Distributions to Owners. Until the Indenture is
           discharged, the Trust shall not engage in any business or activities other than in
           connection with, or relating to, the foregoing and other than as required or authorized by
           the terms of this Agreement and the Indenture, except as are incidental to and necessary
           to accomplish such activities, unless the Interested Noteholders consent to the Trust
           engaging in other activities.

           (b)    Until the Indenture is discharged, the operations of the Trust shall be conducted in
    accordance with the following standards:

                    (i)     The Trust will act solely in its own name and the Owner Trustee or other
            agents selected in accordance with this Agreement will act on behalf of the Trust subject
            to direction by the Owners as provided herein, but such action shall not be in violation of
            the terms of this Agreement;

                   (ii)    The Trust's funds and assets shall at all times be maintained separately
            from those of the Owners and any of their respective Affiliates;

                   (iii)  The Trust shall maintain complete and correct books, minutes of the
            meetings and proceedings of the Owners, and records of accounts;

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                       (iv)    The Trust shall conduct its business at the office of the Owner Trustee and
               will use stationery and other business forms of the Trust under its own name and not that
               of the Owners or any of their respective Affiliates, and will avoid the appearance (A) of
               conducting business on behalf of any Owner or any Affiliate of an Owner or (B) that the
               assets of the Trust are available to pay the creditors of the Owner Trustee or any Owner;

                      (v)     The Trust's operating expenses shall be paid out of its own funds;

                      (vi)    The Trust shall not incur, guarantee or assume any debt (other than the
               Notes) nor hold itself out as being liable for the debts of any entity, including any Owner
               or any Affiliates of any Owner;

                      (vii) For so long as any of the Notes are outstanding, the Trust shall not (A)
               merge or consolidate with or into any other entity, (B) convey or transfer all or
               substantially all of its assets to any other entity (other than to the Indenture Trustee
               pursuant to the Indenture), or (C) dissolve, liquidate or terminate in whole or in part; and

                      (viii) For so long as any of the Notes are outstanding, the Trust shall not own or
               acquire any financial asset that requires the Trust, the Owners or the Administrator to
               make any decisions regarding such asset other than the servicing of the asset.

              Section 2.04 Appointment of the Owner Trustee. The Depositor hereby appoints the
       Owner Trustee as trustee of the Trust, to have all the rights, powers and duties set forth herein
       and in the Statutory Trust Statute. The Owner Trustee acknowledges receipt in trust from the
       Depositor, of the sum of one dollar ($1), constituting the initial Trust Property.

               Section 2.05 Declaration of Trust. The Owner Trustee hereby declares that it will hold
       the Trust Property in trust upon and subject to the conditions set forth herein for the use and
       benefit of the Owners, subject to the obligations of the Owner Trustee under the Trust Related
       Agreements. It is the intention of the parties hereto that the Trust constitute a statutory trust
       under the Statutory Trust Statute and that this Agreement constitute the governing instrument of
       the Trust.

                Section 2.06 No Liability of Owners for Expenses or Obligations of Trust. No Owner
        shall be liable for any liability, expense or other obligation of the Trust.

               Section 2.07 Situs of Trust. The Trust will be located and administered in the State of
        Delaware. The Trust shall not have any employees in any state other than in the State of
        Delaware and payments will be received by the Owner Trustee on behalf of the Trust only in the
        State of Delaware and payments will be made by the Owner Trustee on behalf of the Trust only
        from the State of Delaware.




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                                                   ARTICLE III

                          TRUST CERTIFICATES AND TRANSFER OF INTEREST

               Section 3.01    Issuance of Trust Certificate.

               (a)    As of the date hereof, as set forth on Schedule A attached hereto, the Depositor
       has been issued a Trust Certificate evidencing a percentage of the Beneficial Interest in the Trust
       and TERI has been issued a Trust Certificate evidencing a percentage of the Beneficial Interest
       in the Trust.                                                                     .

                (b)    Each Trust Certificate shall be executed by manual signature on behalf of the
        Owner Trustee by one of its Authorized Officers. Trust Certificates bearing the manual signature
        of an individual who was, at the time when such signature was affixed, authorized to sign on
        behalf of the Owner Trustee shall bind the Trust, notwithstanding that such individual has ceased
        to be so authorized prior to the deliveiy of such Trust Certificate or does not hold such office at
        the date of such Trust Certificate. Each Trust Certificate shall be dated the date of its issuance.

               Section 3.02    Registration and Transfer of Certificates.

                (a)     The Owner Trustee shall maintain at its office referred to in Section 2.02, or at the
        office of any agent appointed by it and approved in writing by the Owners at the time of such
        appointment, a register for the registration and Transfer of Trust Certificates. No Transfer of a
        Beneficial Interest shall be made unless such Transfer is made pursuant to an effective
        registration statement under the Securities Act of 1933, as amended (the "1933 Act"), and state
        securities laws, or is exempt from the registration requirements under the 1933 Act and state
        securities laws.

                (b)     The registered Owner of any Trust Certificate may Transfer all or any portion of
        the Beneficial Interest evidenced by such Trust Certificate upon surrender thereof to the Owner
        Trustee accompanied by the documents required by Section 3.04. Such Transfer may be made by
        the registered Owner in person or by its attorney duly authorized in writing upon surrender of the
        Trust Certificate to the Owner Trustee accompanied by a written instrument of Transfer and with
        such signature guarantees and evidence of authority of the Persons signing the instrument of
        Transfer as the Owner Trustee may reasonably require. Promptly upon the receipt of such
        documents and receipt by the Owner Trustee of the transferor's Trust Certificate, the Owner
        Trustee shall (i) record the name of such transferee as an Owner and its Percentage Interest in the
        Trust Certificate register and (ii) issue, execute and deliver to such Owner a Trust Certificate
        evidencing such Percentage Interest. In the event a transferor Transfers only a portion of its
        Beneficial Interest, the Owner Trustee shall register and issue to such transferor a new Trust
        Certificate evidencing such transferor's new Percentage Interest. Subsequent to a Transfer and
        upon the issuance of the new Trust Certificate or Trust Certificates, the Owner Trustee shall
        cancel and destroy the Trust Certificate surrendered to it in connection with such Transfer. The
        Owner Trustee may treat the Person in whose name any Trust Certificate is registered as the sole
        Owner of the Beneficial Interest in the Trust evidenced by such Trust Certificate.




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               (c)    As a condition precedent to any registration of Transfer, the Owner Trustee may
        require the payment of a sum sufficient to cover the payment of any tax or taxes or other
        governmental charges required to be paid in connection with such Transfer and any other
        reasonable expenses connected therewith.

                (d)    The Trust Certificates may not be acquired or held by or for the account of a Plan
        (as defined herein).

                Section 3.03 Lost. Stolen. Mutilated or Destroyed Certificates. If (i) any mutilated
        Trust Certificate is surrendered to the Owner Trustee, or (ii) the Owner Trustee receives
        evidence to its satisfaction that any Trust Certificate has been destroyed, lost or stolen, and upon
        proof of ownership satisfactory to the Owner Trustee together with such security or indemnity as
        may be requested by the Owner Trustee to save it harmless, the Owner Trustee shall execute and
        deliver a new Trust Certificate for the same Percentage Interest as the Trust Certificate so
        mutilated, destroyed, lost or stolen, of like tenor and bearing a different issue number, with such
        notations, if any, as the Owner Trustee shall determine. In connection with the issuance of any
        new Trust Certificate under this Section 3.03, the Owner Trustee may require the payment by the
        registered Owner thereof of a sum sufficient to cover any tax or other governmental charge that
        may be imposed in relation thereto and any other expenses (including the reasonable fees and
        expenses of the Owner Trustee) connected therewith. Any replacement Trust Certificate issued
        pursuant to this Section 3.03 shall constitute complete and indefeasible evidence of ownership of
        a Beneficial Interest, as if originally issued, whether or not the lost, stolen or destroyed Trust
        Certificate shall be found at any time.

               Section 3.04    Limitation on Transfer of Ownership Rights.

                (a)    No Transfer of all or any part of a Beneficial Interest shall be made to any Person
        unless (i) such Person delivers to the Owner Trustee an accession agreement substantially in the
        form of Exhibit 2 hereof, (ii) except for the initial transfer of the Beneficial Interest of the
        Depositor, the Owner Trustee shall have received a written opinion of counsel in form and
        substance satisfactory to the Owner Trustee stating that such Transfer is exempt from the 1933
        Act and any applicable state securities laws.

                (b)    At any time that there is more than one Owner, no Transfer of a Beneficial
        Interest shall be valid unless the Owner making such Transfer shall have received the prior
        written consent to such Transfer of the Owners holding at least 85% of both the Percentage
        Interests and the Sharing Ratios in the Trust at such time, which consent may not be
        unreasonably withheld; provided, however, that in calculating the total Beneficial Interests in the
        Trust the Beneficial Interest owned by the transferor or (unless the transferor and its Affiliates
        are the only Owners) any Affiliate thereof shall be excluded.

                (c)    Except for the initial issuance of the Trust Certificates to the Depositor, no
        Transfer shall be valid if, as a result of such Transfer, (i) any Person would have a Percentage
        Interest or a Sharing Ratio of 100%, considering for such purpose all interests owned by any
        Affiliate of such Person as owned by such Person, or (ii) such Transfer would result in a
        termination of the Trust for Federal income tax purposes.



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               (d)     No Transfer of all or any part of a Beneficial Interest shall be made to any
       employee benefit plan or certain other retirement plans and arrangements, including individual
       retirement accounts and annuities, Keogh plans and bank collective investment funds and
       insurance company general or separate accounts in which such plans, accounts or arrangements
       are invested, that are subject to ERISA or Section 4975 of the Code (collectively, "Plan"), nor to
       any Person acting, directly or indirectly, on behalf of any such Plan or any Person acquiring the
       Beneficial Interest with "plan assets" of a Plan within the meaning of the Department of Labor
       regulation promulgated at 29 C.F.R. § 2510.3-101 ("Plan Assets") unless the Owner Trustee is
       provided with an opinion of counsel which establishes to the satisfaction of the Owner Trustee
       that the purchase of the Beneficial Interest is permissible under applicable law, will not
       constitute or result in any prohibited transaction under ERISA or Section 4975 of the Code and
       will not subject the Owners, the Owner Trustee or the Trust to any obligation or liability
       (including obligations or liabilities under ERISA or Section 4975 of the Code) in addition to that
       undertaken in this Agreement, which opinion of counsel shall not be an expense of the Owners,
       the Owner Trustee or the Trust.

                (e)    No Transfer of all or any part of a Beneficial Interest shall be permitted, and no
        such transfer shall be effective hereunder, if such transfer would cause the Trust to be classified
        as a publicly traded partnership, taxable as a corporation for federal income tax purposes, by
        causing the Trust to have more than 100 Owners at any time during any taxable year of the Trust.

               Section 3.05 Assignment of Right to Distributions. An Owner may assign all or any
        part of its right to receive distributions hereunder, but such assignment (in the absence of a
        permitted Transfer) shall effect no change in the ownership of the Trust.

                                                  ARTICLE IV

                                        CONCERNING THE OWNERS

               Section 4.01    Action by Owners with Respect to Certain Matters.

               (a)       The Owner Trustee will take such action or refrain from taking such action under
        this Agreement or any Trust Related Agreement as it shall be directed pursuant to an express
        provision of this Agreement or such Trust Related Agreement or, with respect to nonministerial
        matters, as it shall be directed by all the Owners for so long as any of the Notes are outstanding.

               (b)     Without limiting the generality of the foregoing, in connection with the following
        nonministerial matters, the Owner Trustee will take no action, and will not have authority to take
        any such action, unless it receives prior written approval from all the Owners for so long as any
        of the Notes are outstanding:

                      (i)    Initiate any claim or lawsuit by the Trust and compromise any claim or
               lawsuit brought by or against the Trust, except for claims or lawsuits initiated in the
               ordinary course of business by the Trust or its agents or nominees for collection on the
               Student Loans owned by the Trust;

                     (ii)     Amend, change or modify this Agreement or any Trust Related
               Agreement;

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                       (iii)  To the fullest extent permitted by applicable law, file a voluntary petition
               in bankruptcy for the Trust, which in no event shall the Owner Trustee be permitted to do
               or be instructed to do until at least 367 days after the payment in full of the Outstanding
               Notes (as defined in the Indenture) issued by the Trust; and

                        (iv)   To the fullest extent permitted by applicable law, (A) Institute proceedings
               to have the Trust declared or adjudicated bankrupt or insolvent, (B) consent to the
               institution of bankruptcy or insolvency proceedings against the Trust, (C) file a petition
               or consent to a petition seeking reorganization or relief on behalf of the Trust under any
               applicable federal or state law relating to bankruptcy, (D) consent to the appointment of a
               receiver, liquidator, assignee, trustee, sequestrator (or any similar official) of the Trust or
               a substantial portion of the property of the Trust, (E) make any assignment for the benefit
               of the Trust's creditors, (F) cause the Trust to admit in writing its inability to pay its debts
               generally as they become due, or (G) take any action, or cause the Trust to take any
               action, in furtherance of any of the foregoing (any of the above, a "Bankruptcy Action").
               No Owner shall have the power to take, and no Owner shall take, any Bankruptcy Action
               with respect to the Trust or direct the Owner Trustee to take any Bankruptcy Action with
               respect to the Trust.

              (c)     No Owner shall take any action to cause the filing of an involuntary petition in
        bankruptcy against the Trust.

               Section 4.02 Action Upon Instructions.

                 (a)    The Owner Trustee shall take such action or actions as may be specified in this
        Agreement or in any instructions delivered in accordance with this Article IV or Article VIII;
        nrovided. however, that the Owner Trustee shall not be required to take any such action if it shall
        have reasonably determined, or shall have been advised by counsel, that such action (i) is
        contrary to the terms hereof or of any document contemplated hereby to which the Trust or the
        Owner Trustee is a party or is otherwise contrary to law, (ii) is likely to result in personal
        liability on the part of the Owner Trustee, unless the Owners shall have provided to the Owner
        Trustee indemnification or security reasonably satisfactory to the Owner Trustee against all
        costs, expenses and liabilities arising from the Owner Trustee's taking of such action, or (iii)
        would adversely affect the status of the Trust as a partnership for Federal income tax purposes.

                (b)     No Owner shall direct the Owner Trustee to take or refrain from taking any action
        contrary to this Agreement or any Trust Related Agreement, nor shall the Owner Trustee be
        obligated to follow any such direction, if given.

                (c)     Notwithstanding anything contained herein or in any Trust Related Agreement to
        the contrary, the Owner Trustee shall not be required to take any action in any jurisdiction other
        than in the State of Delaware if the taking of such action will (i) require the consent or approval
        or authorization or order for the giving of notice to, or the registration with or taking of any
        action in respect of, any state or other governmental authority or agency of any jurisdiction other
        than the State of Delaware; (ii) result in any fee, tax or other governmental charge under the laws
        of any jurisdiction or any political subdivision thereof in existence on the date hereof other than
        the State of Delaware becoming payable by the Owner Trustee; or (iii) subject the Owner


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    Trustee to personal jurisdiction in any jurisdiction other than the State of Delaware for causes of
    action arising from acts unrelated to the consummation of the transactions by the Owner Trustee
    contemplated hereby.

          (d)     The Owner Trustee shall not have the power to remove the Administrator under
    the Administration Agreement or appoint a successor Administrator pursuant to the
    Administration Agreement without written instruction by the Owners.             .

          Section 4.03 Super-maioritv Control. Except as otherwise expressly provided in this
   Agreement, any action which may be taken or consent or instructions which may be given by the
   Owners under this Agreement may be taken by the Owners holding in the aggregate at least 85%
   of both the Percentage Interests and the Sharing Ratios in the Trust at the time of such action (the
   "Super-majority Owners"). Any written notice of the Owners delivered pursuant to this
   Agreement shall be effective only if signed by the Super-majority Owners at the time of the
   delivery of such notice.

           Section 4.04 Representations and Warranties of the Depositor. The Depositor hereby
    represents and warrants to the Owner Trustee as follows:                     .

           (a)      Upon the receipt of the Trust Property by the Owner Trustee under this
    Agreement, the Owner Trustee on behalf of the Trust will have good title to the Trust Property
    free and clear of any lien.

           (b)     The Trust is not and will not be, upon conveyance of the Trust Property to the
    Owner Trustee, an "Investment Company" or under the "control" of an "Investment Company,"
    as such terms are defined in the Investment Company Act of 1940, as amended.

           (c)     Except for the filing of the Certificate of Trust with the Secretary of State, no
    consent, approval, authorization or order of, or filing with, any court or regulatory, supervisory
    or governmental agency or body is required under current law in connection with the execution,
    delivery or performance by the Depositor of this Agreement or the consummation of the
    transactions contemplated hereby; provided, however, that no representation or warranty is made
    herein as to compliance with Federal securities laws or the securities or "blue sky" laws of any
    state.

            (d)    This Agreement has been duly and validly authorized, executed and delivered by,
    and constitutes a valid and binding agreement of, the Depositor, enforceable in accordance with
    its terms.

           Section 4.05 Power of Attorney.

           (a)     General.    Each Owner hereby irrevocably constitutes and appoints the
    Administrator, with full power of substitution, such Owner's true and lawful attorney-in-fact, in
    such Owner's name, place and stead, with full power to act jointly and severally, to make,
    execute, sign, acknowledge, swear to, verify, deliver, file, record and publish the following
    documents:



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                    (i)   Any certificate, instrument or document to be filed by the Owners under
             the laws of any state, or with any governmental agency in connection with this
             Agreement;

                    (ii)    Any certificate, instrument or document which may be required to effect
             the continuation or the termination of the Trust, including any amendments to this
             Agreement; provided such continuation or termination is in accordance with the terms of
             this Agreement; and

                     (iii) Any written notice, instruction, instrument or document under Article XII
             of this Agreement.

           (b)    Duration of Power of Attorney. It is expressly intended by each of the Owners
   that the Power of Attorney granted under this Section 4.05 is coupled with an interest, and it is
   agreed that such Power of Attorney shall survive (i) the dissolution, death or incompetency of
   any Owner and (ii) the assignment by any Owner of the whole or any portion of such Owner's
   Beneficial Interest.

                                               ARTICLE V

         •                INVESTMENT AND APPLICATION OF TRUST FUNDS

          Section 5.01 Investment of Trust Funds. Unless otherwise directed in writing by the
   Owners, income with respect to and proceeds of the Trust Property which are received by the
   Owner Trustee more than one day prior to a Distribution Date shall be invested and reinvested by
   the Owner Trustee in Eligible Investments. Interest earned from such investment and
   reinvestment shall be credited to the Trust Property.

          Section 5.02 Application of Funds. Income with respect to and proceeds of Trust
   Property held by the Owner Trustee on a Distribution Date shall be remitted directly to the
   Indenture Trustee for application in accordance with the Indenture for so long as any of the
   Notes is outstanding, and thereafter shall be applied by the Owner Trustee on such Distribution
   Date in the following order:

                    (i)     First, to pay any amounts due to the Owner Trustee under this Agreement;

                   (ii)    Second, to pay any amounts due to the Administrator under the
             Administration Agreement and to the Structuring Advisor under the Structuring Advisory
             Agreement;

                   (iii) Third, to pay any amounts then due to any Person under the Trust Related .
             Agreements;

                    (iv)    Fourth, to pay any other expenses of the Trust; and

                    (v)     Fifth, to the Owners in accordance with Section 7.06.




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       All payments to be made under this Agreement by the Owner Trustee shall be made only from
       the income and proceeds of the Trust Property and only to the extent that the Owner Trustee has
       received such income or proceeds.

                                                  ARTICLE VI

                                                   CAPITAL

               Section 6.01 Tax Characterization. It is intended that the Trust be characterized and
       treated as a partnership for federal income tax purposes. To the extent the Trust is characterized
       and treated as anything other than a partnership for federal, state or local income tax purposes,
       the Owners shall jointly and severally be liable for, and hereby agree to indemnify the Trust for,
       any tax liability arising out of such characterization. All references to a "Partner," the "Partners"
       and to the "Partnership" in this Agreement and in the provisions of the Code and Regulations
       cited in this Agreement shall be deemed to refer to an Owner, the Owners and the Trust,
       respectively. The Tax Matters Partner of the Trust shall be as set forth in Article XIII.

                Section 6.02 Initial Capital Contributions of Owners. The Depositor shall make an
       initial Capital Contribution in the amount of one dollar ($1) upon execution of this Agreement.
       Upon their accession to this Agreement as Owners and the issuance of Trust Certificates to them
       in accordance with Section 3.01(a), the Owners will be deemed to have made initial Capital
       Contributions in the amounts set forth on Schedule A attached hereto.

                Section 6.03 Capital Accounts. A capital account shall be maintained for each Owner
        throughout the term of the Trust in accordance with the rules of section 1.704-l(b)(2)(iv) of the
        Regulations as in effect from time to time, and, to the extent not inconsistent therewith, to which
        the following provisions apply:

               (a)    To each Owner's Capital Account there shall be credited (i) the amount of money
       contributed by such Owner to the Trust (including each Owner's share of any liabilities of the
       Trust assumed by such Owner as provided in section 1.704-1(b)(2)(iv)(c) of the Regulations), (ii)
       the fair market value of any property contributed to the Trust by such Owner (net of liabilities
       secured by such contributed property that the Trust is considered to assume or take subject to
       under section 752 of the Code), and (iii) such Owner's share of Profit and items of income and
       gain that are specially allocated pursuant to Sections 7.03 and 7.04 (other than any income or
       gain allocated to such Owner pursuant to Section 7.03(f) in accordance with section 704(c) of the
       Code). The initial Capital Contributions of each Owner are set forth on Schedule A attached
       hereto.

                (b)     To each Owner's Capital Account there shall be debited (i) the amount of money
        distributed to such Owner by the Trust (including any liabilities of such Owner assumed by the
        Trust as provided in section 1.704-1 (b)(2)(iv)(c) of the Regulations) other than amounts that are
        in repayment of debt obligations of the Trust to such Owner, (ii) the fair market value of property
        distributed to such Owner (net of liabilities secured by such distributed property that such Owner
        is considered to assume or take subject to), and (iii) such Owner's share of Loss and items of loss
        or deduction that are specially allocated pursuant to Sections 7.03 and 7.04 (other than any



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   deduction or loss allocated to such Owner pursuant to Section 7.03(f) in accordance with
   section 704(c) of the Code).

           (c)    The Capital Account of a transferee Owner shall include the appropriate portion
   of the Capital Account of the Owner from whom the transferee Owner's interest was obtained.

           (d)    In determining the amount of any liability, there shall be taken into account
   section 752(c) of the Code and any other applicable provisions of the Code and Regulations.

   The foregoing provisions and the other provisions of this Agreement relating to the maintenance
   of Capital Accounts are intended to comply with section 1.704-l(b) of the Regulations, and shall
   be interpreted and applied in a manner consistent with such Regulations.

          Section 6.04 Interest. No Owner shall be entitled to interest on its Capital Contribution
   or on any Profit retained by the Trust.

           Section 6.05 No Additional Capital Contributions. No Owner shall make an additional
   Capital Contribution to the Trust, or receive a distribution from the Trust, of property unless this
   Agreement shall have first been amended to the extent necessary to comply with the
   requirements of sections 704(b) and (c) of the Code regarding the distributive shares of, and the
   allocation of income, gain, loss, deduction and credit among, partners of a partnership.

         Section 6.06 Investment of Capital Contributions. The cash Capital Contributions of
   the Owners shall be invested by the Owner Trustee in accordance with Section 5.01.

          Section 6.07 Repayment and Return of Capital Contributions. The Owner Trustee shall
   have no personal liability for the repayment of any Capital Contributions of the Owners.

                                             ARTICLE VII

                     ALLOCATION OF PROFIT AND LOSS; DISTRIBUTIONS

           Section 7.01 Profit. After giving effect to special allocations set forth in Section 7.03
   and Section 7.04, Profit for any Fiscal Year shall be allocated to the Owners in proportion to
   their respective Sharing Ratios.

          Section 7.02 Loss. After giving effect to the special allocations set forth in Sections
   7.03 and 7.04, Loss for any Fiscal Year shall be allocated as follows:

           (a)     Special Allocation of Loss Attributable to Note Defaults on TERI Guaranteed
   Loans. To the extent of any positive balance in TERI's Capital Account as an Owner, TERI
   shall be specially allocated all Losses for such Fiscal Year resulting from defaults, as determined
   pursuant to the TERI Guaranty Agreements, on the TERI Guaranteed Loans owned by the Trust
   to the extent that the Trust is not reimbursed for such Losses by TERI as a guaranty payment
   pursuant to the TERI Guaranty Agreements.

           (b)    Other Loss. All Loss not allocated pursuant to Section 7.02(a) shall be allocated
   to the Owners in proportion to their Sharing Ratios.

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               (c)     Effect of Adjusted Capital Account Deficit. The Loss allocated pursuant to
       Section 7.02(a) and (b) shall not exceed the maximum amount of Loss that can be so allocated
       without causing any Owner to have an Adjusted Capital Account Deficit at the end of any Fiscal
       Year. In the event some but not all of the Owners would have Adjusted Capital Account Deficits
       as a consequence of an allocation of Loss pursuant to Section 7.02(a) and (b), the limitation set
       forth in this Section 7.02(c) shall be applied on an Owner by Owner basis so as to allocate the
       maximum permissible Loss to each Owner under section 1.704-l(b)(2)(ii)(d) of the Regulations.

               (d)     Remaining Loss. In the event that there is any remaining Loss in excess of the
       limitation set forth in Section 7.02(c), such remaining Loss shall be allocated among the Owners
       in proportion to their respective Sharing Ratios.

               Section 7.03   Special Allocations.

               (a)    Minimum Gain Chargeback. Except as otherwise provided in section 1.704-2(1)
       of the Regulations, notwithstanding any other provision of this Section 7.03, if there is a net
       decrease in Partnership Minimum Gain during any Fiscal Year, each Owner shall be specially
       allocated items of Trust income and gain for such Fiscal Year (and, if necessary, subsequent
       Fiscal Years) in an amount equal to such Owner's share of the net decrease in Partnership
       Minimum Gain, determined in accordance with section 1.704-2(g) of the Regulations.
       Allocations pursuant to the previous sentence shall be made in proportion to the respective
       amounts required to be allocated to each Owner pursuant thereto. The items to be so allocated
       shall be determined in accordance with sections 1.704-2(f)(6) and 1.704-2(j)(2) of the
       Regulations. This Section 7.03(a) is intended to comply with the minimum gain chargeback
       requirement in section 1.704-2(1) of the Regulations and shall be interpreted consistently
       therewith.

               (b)    Owner Minimum Gain Chargeback. Except as otherwise provided in section
       1.704-2(i)(4) of the Regulations, notwithstanding any other provision of this Section 7.03, if
       there is a net decrease in Partner Nonrecourse Debt Minimum Gain attributable to a Partner
       Nonrecourse Debt during any Fiscal Year, each Owner who has a share of the Partner
       Nonrecourse Debt Minimum Gain attributable to such Partner Nonrecourse Debt, determined in
       accordance with section 1.704-2(i)(5) of the Regulations, shall be specially allocated items of
       Partnership income and gain for such Fiscal Year (and, if necessary, subsequent Fiscal Years) in
       an amount equal to such Partner's share of the net decrease in Partner Nonrecourse Debt
       Minimum Gain attributable to such Partner Nonrecourse Debt, determined in accordance with
       section 1.704-2(i)(4) of the Regulations. Allocations pursuant to the previous sentence shall be
       made in proportion to the respective amounts required to be allocated to each Partner pursuant
       thereto. The items to be so allocated shall be determined in accordance with sections 1.704-
       2(i)(4) and 1.704-2(j)(2) of the Regulations. This Section 7.03(b) is intended to comply with the
       minimum gain chargeback requirement in section 1.704-2(i)(4) of the Regulations and shall be
       interpreted consistently therewith.

               (c)     Qualified Income Offset. In the event any Owner unexpectedly receives any
       adjustments, allocations, or distributions described in section 1.704-l(b)(2)(ii)(d)(4), 1.704-
       l(b)(2)(ii)(d)(5) or 1.704-l(b)(2)(ii)(d)(6) of the Regulations, items of Trust income and gain
       shall be specially allocated to the Owner in an amount and manner sufficient to eliminate, to the

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        extent required by the Regulations, the Adjusted Capital Account Deficit of the Owner as
        quickly as possible, provided that an allocation pursuant to this Section 7.03(c) shall be made
        only if and to the extent that the Owner would have an Adjusted Capital Account Deficit after all
        other allocations provided for in this Article VII have been tentatively made as if this
        Section 7.03(c) were not in this Agreement.

                (d)     Nonrecourse Deductions. Nonrecourse Deductions for any Fiscal Year shall be
        specially allocated among the Owners in proportion to their Sharing Ratios.

                (e)     Partner Nonrecourse Deductions. Any Partner Nonrecourse Deductions for any
        Fiscal Year shall be specially allocated to the Owner who bears the economic risk of loss with
        respect to the Partner Nonrecourse Debt to which such Partner Nonrecourse Deductions are
        attributable in accordance with section 1.704-2(i)(l) of the Regulations.

                (f)     Mandatory Allocations Under Section 704^ of the Code. Notwithstanding the
        foregoing provisions of this Section 7.03, in the event section 704(c) of the Code or section
        704(c) of the Code principles applicable under section 1.704-l(b)(2)(iv) of the Regulations
        require allocations of income, gain, deduction or loss in a manner different than that set forth
        above, the provisions of section 704(c) of the Code and the Regulations thereunder shall control
        such allocations. Any item of Trust income, gain, loss and deduction with respect to any property
        (other than cash) that has been contributed by a Partner to the capital of the Trust or which has
        been revalued for Capital Account purposes pursuant to section 1.744-l(b)(2)(iv) of the
        Regulations and which is required to be allocated to such Partner for income tax purposes under
        section 704(c) of the Code so as to take into account the variation between the tax basis of such
        property and its fair market value at the time of its contribution shall be allocated solely for
        income tax purposes in the manner required or permitted under section 704(c) of the Code using
        the "traditional method" described in section 1.704-3(b) of the Regulations, provided, however.
        that curative allocations consisting of the special allocation of gain or loss upon the sale or other
        disposition of the contributed property shall be made in accordance with section 1.704-3(c) of
        the Regulations to the extent necessary to eliminate any disparity, to the extent possible, between
        the Partners' book and tax Capital Accounts attributable to such property; further provided,
        however, that any other method allowable under applicable Regulations may be used for any
        contribution of property as to which there is agreement between the contributing Partner and the
        Administrator.

               (g)     Gross Income Allocation. In the event any Owner has an Adjusted Capital
        Account Deficit, such Owner shall be specially allocated items of Trust income and gain in the
        amount of such excess as quickly as possible, provided that an allocation pursuant to this Section
        7.03(g) shall be made only if and to the extent that such Owner would have an Adjusted Capital
        Account Deficit after all other allocations provided for in this Section 7.03 have been made as if
        Sections 7.03(c) and 7.03(g) were not in this Agreement.

                Section 7.04 Curative Allocations. The allocations set forth in Sections 7.02 and
        7.03(a) through (e) (the "Regulatory Allocations") are intended to comply with certain
        requirements of the Regulations. It is the intent of the Owners that, to the extent possible, all
        Regulatory Allocations shall be offset either with other Regulatory Allocations or with special
        allocations of other items of Trust income, gain, loss, or deduction. Therefore, notwithstanding

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        any other provision of this Article VII (other than the Regulatory Allocations), offsetting special
        allocations of Trust income, gain, loss, or deduction shall be made so that, after such offsetting
        allocations are made, each Owner's Capital Account balance is, to the extent possible, equal to
        the Capital Account balance such Owner would have had if the Regulatory Allocations were not
        part of this Agreement and all Trust items were allocated pursuant to Sections 7.01 and 7.02. In
        making such offsetting allocations, there shall be taken into account future Regulatory
        Allocations under Section 7.03(a) and (b) that, although not yet made, are likely to offset other
        Regulatory Allocations previously made under Section 7.03(d) and (e).

               Section 7.05 Other Allocation Rules.

                (a)     For purposes of determining the Profit, Loss, or any other items allocable to any
        period, Profit, Loss, and any such other items shall be determined on a daily, monthly, or other
        basis, as determined by the Owner Trustee, under the direction of the Super-majority Owners,
        using any method permissible under section 706 of the Code and the Regulations thereunder.

                (b)     The Owners are aware of the income tax consequences of the allocations made by
        this Article VII and hereby agree to be bound by the provisions of this Article VII in reporting
        their shares of Trust income and loss for income tax purposes.

               (c)     Solely for purposes of determining an Owner's proportionate share of the "excess
        nonrecourse liabilities" of the Trust within the meaning of section 1.752-3(a)(3) of the
        Regulations, the Owners' interests in Trust profits are in proportion to their Sharing Ratios.

                (d)    To the extent permitted by section 1.704-2(h)(3) of the Regulations, the Owner
        Trustee shall endeavor to treat distributions of Net Cash Flow as having been made from the
        proceeds of a Nonrecourse Liability or a Partner Nonrecourse Debt only to the extent that such
        distributions would cause or increase an Adjusted Capital Account Deficit for any Owner.

                Section 7.06 Distribution of Net Cash Flow. Except to the extent prohibited by any
        other agreement to which the Trust is a party or is otherwise bound. Net Cash Flow on each
        Distribution Date shall be distributed on such Distribution Date to each Owner in an amount
        equal to (i) the Profit allocated to such Owner under this Article VII and not previously
        distributed to such Owner less (ii) the amount of Losses allocated to such Owner to the extent
        such Losses were not applied in reduction of the amount of any previous distribution of Net Cash
        Flow to such Owner. All payments to be made under this Agreement by the Owner Trustee shall
        be made only from the income and proceeds of the Trust Property and only to the extent the
        Owner Trustee has received such income or proceeds.

                Section 7.07 Distribution Date Statement. With each distribution to an Owner pursuant
        to Section 7.06, the Owner Trustee shall deliver a Distribution Date Statement setting forth, for
        the period since the preceding Distribution Date:

               (a)     Income and proceeds received by the Owner Trustee with respect to the Trust
        Property;

               (b)     Amounts paid to the Owner Trustee;


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               (c)    Amounts paid to any Person pursuant to a Trust Related Agreement; and

               (d)    Amounts paid for other expenses of the Trust.

               Section 7.08 Allocation of Tax Liability. In the event that any tax is imposed on the
        Trust, such tax shall be charged against amounts otherwise distributable to the Owners in
        proportion to their respective Sharing Ratios. The Owner Trustee is hereby authorized to retain
        from amounts otherwise distributable to the Owners sufficient funds to pay or provide for the
        payment of, and then to pay, such tax as is legally owed by the Trust (but such authorization
        shall not prevent the Owner Trustee from contesting any such tax in appropriate proceedings,
        and withholding payment of such tax, if permitted by law, pending the outcome of such
        proceedings).

                 Section 7.09 Method of Payment. All amounts payable to an Owner pursuant to this
        Agreement shall be paid by the Owner Trustee to such Owner or a nominee therefor by check
        payable to such Owner, mailed first class to the address of such Owner appearing on the register
        maintained pursuant to Section 3.02, or by crediting the amount to be distributed to such Owner
        to an account maintained by such Owner with the Owner Trustee or by transferring such amount
        by wire transfer in immediately available funds to a banking institution with bank wire transfer
        facilities for the account of such Owner, as instructed in writing from time to time by such
        Owner. The Owner Trustee may require an Owner to pay any wire transfer fees incurred in
        connection with any wire transfer made to such Owner.

                Section 7.10 No Segregation of Funds: No Interest. Subject to Sections 2.03(b)(ii) and
        5.01, funds received by the Owner Trustee hereunder need not be segregated in any manner
        except to the extent required by law and may be deposited under such general conditions as may
        be prescribed by law, and the Owner Trustee shall not be liable for any interest thereon.

                Section 7.11 Interpretation and Application of Provisions by the Administrator. The
        Owner Trustee shall appoint and authorize the Administrator to interpret and apply the
        provisions set forth in Articles V, VI, VII and XI regarding application of funds, allocations of
        Profit and Loss and Distributions of Net Cash Flow, to resolve any ambiguities that may result
        from such application and to provide the Owner Trustee and the Owners with clarification of any
        provision as may be necessary or appropriate. The determinations of the Administrator shall be
        binding upon the Owners.

                                                 ARTICLE VIII

                          AUTHORITY AND DUTIES OF THE OWNER TRUSTEE

               Section 8.01 General Authority. The Owner Trustee is authorized to take all actions
        required or permitted to be taken by it pursuant to the terms of this Agreement, the Trust Related
        Agreements and the Statutory Trust Statute. The Owner Trustee is further authorized from time
        to time to take such action as the Administrator directs with respect to the Trust Related
        Agreements.

                Section 8.02 Specific Authority. The Owner Trustee is hereby authorized and directed
        to take the following actions:

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               (a)     Execute the Certificate of Trust;

              (b)     Execute and deliver the Administration Agreement and the Back-up Agreement
       and on behalf of the Trust, as well as the Trust Related Agreements, including without limitation,
       the Trust Certificates and any other document contemplated by the foregoing, in each case in
       such form as the Administrator shall approve, as evidenced conclusively by the Owner Trustee's
       execution thereof; and

               (c)     Execute and deliver on behalf of the Trust any documents necessary or
        appropriate, in such form as the Administrator shall approve, as evidenced conclusively by the
        Owner Trustee's execution thereof, to cause the repurchase by TERI or the Trust, as the case
        may be, of any Student Loan Note required to be repurchased in accordance with the TERI
        Guaranty Agreements.

              Section 8.03 General Duties. It shall be the duty of the Owner Trustee to discharge (or
       cause to be discharged) all of its responsibilities pursuant to the terms of this Agreement and to
       administer the Trust in the interest of the Owners. Notwithstanding the foregoing, the Owner
       Trustee shall be deemed to have discharged its duties and responsibilities hereunder and under
       the Trust Related Agreements to the extent the Administrator has agreed in the Administration
       Agreement to perform such acts or to discharge such duties of the Owner Trustee hereunder or
       under any Trust Related Agreement, and the Owner Trustee shall not be held liable for the
       default or failure of the Administrator to carry out its obligations under the Administration
       Agreement.

                Section 8.04 Accounting and Reports to the Owners, the Internal Revenue Service and
        Others. The Administrator shall (a) maintain or cause to be maintained the books of the Trust on
        a fiscal year basis using the accrual method of accounting, (b) deliver to each Owner, within 60
        days of the end of each Fiscal Year, or more often, as may be required by the Code and the
        Regulations thereunder, a copy of the annual financial statement of the Trust for such Fiscal Year
        and a statement in such form and containing such information as may be required by such
        Regulations, and as is necessary and appropriate to enable each Owner to prepare its federal and
        state income tax returns, (c) file such tax returns and reports relating to the Trust, and make such
        elections, including an election for the first taxable year of the Trust, as may be necessary for the
        Trust to qualify as a partnership, or as may from time to time be'required under any applicable
        state or federal statute or rule or regulation thereunder, (d) cause such tax returns to be signed in
        the manner required by law, (e) collect or cause to be collected any withholding tax required by
        the Code to be withheld by the Owner Trustee with respect to distributions to Owners who are
        nonresident aliens or foreign corporations, and (f) cause to be mailed to each Owner copies of all
        such reports and tax returns of the Trust.

                Section 8.05 Signature of Returns. The Owner Trustee shall sign on behalf of the Trust
        the tax returns and other Periodic Filings of the Trust, unless applicable law requires an Owner to
        sign such documents, in which case, so long as the Depositor is an Owner and applicable law
        allows the Depositor to sign any such document, the Depositor shall sign such document. At any
        time that the Depositor is not an Owner, or is otherwise not allowed by law to sign any such
        document, then the Owner required by law to sign such document shall sign.



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                Section 8.06 Right to Receive and Rely Upon Instructions. In the event that the Owner
        Trustee is unable to decide between alternative courses of action, or is unsure as to the
        application of any provision of this Agreement or any Trust Related Agreement, or such
        provision is ambiguous as to its application, or is or appears to be in conflict with any other
        applicable provision, or in the event that this Agreement or any Trust Related Agreement permits
        any determination by the Owner Trustee or is silent or is incomplete as to the course of action
        which the Owner Trustee is required to take with respect to a particular set of facts, the Owner
        Trustee may give notice (in such form as shall be appropriate under the circumstances) to the
        Owners requesting instructions and, to the extent that the Owner Trustee shall have acted or
        refrained from acting in good faith in accordance with any instructions received from the
        Owners, the Owner Trustee shall not be liable to any Person on account of such action or
        inaction. If the Owner Trustee shall not have received appropriate instructions within ten days of
        such notice (or within such shorter period of time as may be specified in such notice) the Owner
        Trustee may, but shall be under no duty to, take or refrain from taking such action, not
        inconsistent with this Agreement or the Trust Related Agreements, as the Owner Trustee shall
        deem to be in the best interests of the Owners, and the Owner Trustee shall have no liability to
        any Person for such action or inaction.

                Section 8.07 No Duties Except as Specified in this Agreement or in Instructions. The
        Owner Trustee shall not have any duty or obligation to manage, make any payment in respect of,
        register, record, sell, dispose of or otherwise deal with the Trust Property, or to otherwise take or
        refrain from taking any action under, or in connection with, any document contemplated hereby
        to which the Owner Trustee or the Trust is a party, except as expressly provided by the terms of
        this Agreement, and no implied duties or obligations shall be read into this Agreement against
        the Owner Trustee. The Owner Trustee nevertheless agrees that it will, at its own cost and
        expense, promptly take all action as may be necessary to discharge any liens on any part of the
        Trust Property which result from claims against the Owner Trustee personally that are not related
        to the ownership or the administration of the Trust Property or the transactions contemplated by
        the Trust Related Agreements.

                Section 8.08 No Action Except Under Specified Documents or Instructions. The
        Owner Trustee shall not manage, control, use, sell, dispose of or otherwise deal with any part of
        the Trust Property except (a) in accordance with the powers granted to and the authority
        conferred upon the Owner Trustee pursuant to this Agreement, and (b) in accordance with
        instructions delivered to the Owner Trustee pursuant to Section 8.06 and Article IV hereof.

               Section 8.09 Restriction. Notwithstanding anything herein to the contrary, the Owner
        Trustee shall not take any action (a) that is inconsistent with the purposes of the Trust or (b) that
        would result in the Trust being treated as an association taxable as a corporation for Federal
        income tax purposes.

                                                   ARTICLE IX

                                    CONCERNING THE OWNER TRUSTEE

               Section 9.01 Acceptance of Trusts and Duties. The Owner Trustee accepts the trusts
        hereby created and agrees to perform its duties hereunder with respect to the same but only upon

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       the terms of this Agreement. The Owner Trustee shall not be personally liable under any
       circumstances, except (a) for its own willful misconduct or gross negligence, (b) for liabilities
       arising from the failure by the Owner Trustee to perform obligations expressly undertaken by it
       in the last sentence of Section 8.07, or (c) for taxes, fees or other charges on, based on or
       measured by any fees, commissions or compensation received by the Owner Trustee in
       connection with any of the transactions contemplated by this Agreement or the Trust Related
       Agreements. In particular, but not by way of limitation:

              (i)     The Owner Trustee shall not be personally liable for any error of judgment made
       in good faith by an Authorized Officer of the Owner Trustee;

              (ii)    The Owner Trustee shall not be personally liable with respect to any action taken
       or omitted to be taken by the Owner Trustee in good faith in accordance with the instructions of
       the Administrator or the Owners;

               (iii)   No provision of this Agreement shall require the Owner Trustee to expend or risk
       its personal funds or otherwise incur any financial liability in the performance of any of its rights
       or powers hereunder if the Owner Trustee shall have reasonable grounds for believing that
       repayment of such funds or adequate indemnity against such risk or liability is not reasonably
       assured or provided to it;

               (iv)   Under no circumstance shall the Owner Trustee be personally liable for any
        indebtedness of the Trust under any Trust Related Agreement;

                (v)     The Owner Trustee shall not be personally responsible for or in respect of the
        validity or sufficiency of this Agreement or for the due execution hereof by the Depositor, or for
        the form, character, genuineness, sufficiency, value or validity of any Student Loan or Trust
        Certificate (other than with respect to the due execution thereby by an Authorized Officer), or for
        or in respect of the validity or sufficiency of the Administration Agreement or the Trust Related
        Agreements; and

                (vi)  The Owner Trustee shall not be liable for the default or misconduct of the
        Administrator under any of the Trust Related Agreements or otherwise and the Owner Trustee
        shall have no obligation or liability to perform the obligations of the Trust hereunder or under
        any Trust Related Agreement that are required to be performed by the Administrator under the
        Administration Agreement.

               Section 9.02 Furnishing of Documents. The Owner Trustee shall furnish to the
        Owners, promptly upon receipt thereof, duplicates or copies of all material reports, notices,
        requests, demands, certificates, financial statements and any other instruments furnished to the
        Owner Trustee hereunder (other than documents originated by or otherwise furnished to such
        Owners).

               Section 9.03   Reliance: Advice of Counsel.

               (a)     The Owner Trustee shall incur no liability to anyone in acting upon any signature,
        instrument, notice, resolution, request, consent, order, certificate, report, opinion, note or other
        document or paper believed by it to be genuine and believed by it to be signed by the proper

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        party or parties. The Owner Trustee may accept a certified copy of a resolution of the board of
        directors or other governing body of any corporate party as conclusive evidence that such
        resolution has been duly adopted by such body and that the same is in full force and effect. As to
        any fact or matter the manner of ascertainment of which is not specifically prescribed herein, the
        Owner Trustee may for all purposes hereof rely on a certificate, signed by the president or any
        vice president or by the treasurer or any assistant treasurer or the secretary of the relevant party,
        as to such fact or matter, and such certificate shall constitute full protection to the Owner Trustee
        for any action taken or omitted to be taken by it in good faith in reliance thereon.

                (b)     In the exercise or administration of the trusts hereunder and in the performance of
        its duties and obligations under any of the Trust Related Agreements, the Owner Trustee (i) may
        act directly or, at the expense of the Trust, through agents or attorneys pursuant to agreements
        entered into with any of them, and the Owner Trustee shall not be liable for the default or
        misconduct of such agents or attorneys if such agents or attorneys shall have been selected by the
        Owner Trustee with reasonable care; and (ii) may, at the expense of the Trust, consult with
        counsel, accountants and other skilled persons to be selected with reasonable care and employed
        by it, and the Owner Trustee shall not be liable for anything done, suffered or omitted in good
        faith by it in accordance with the advice or opinion of any such counsel, accountants or other
        skilled persons.

               Section 9.04 Not Acting in Individual Capacity. Except as expressly provided in this
        Article IX, in accepting the trusts hereby created, the Owner Trustee acts solely as trustee
        hereunder and not in its individual capacity, and all Persons having any claim against the Owner
        Trustee by reason of the transactions contemplated by this Agreement or the Trust Related
        Agreements shall look only to the Trust Property for payment or satisfaction thereof.

                 Section 9.05 Representations and Warranties of Owner Trustee. The Owner Trustee
        represents and warrants to the Depositor that (a) the Owner Trustee meets the requirements of
        (i)Rule 3(a)(7) promulgated under the Investment Company Act of 1940, as amended, and
        (ii) section 3807 of the Statutory Trust Statute and (b) the Owner Trustee or the Owner Trustee's
        parent entity has a combined capital and surplus of at least $50,000,000.

                                                   ARTICLE X

                                   COMPENSATION OF OWNER TRUSTEE

                Section 10.01 Owner Trustee's Fees and Expenses. The Owner Trustee shall receive
        compensation from the Administrator and, to the extent not paid by the Administrator, from the
        Trust Property for its services hereunder as set forth in a separate fee agreement between The
        First Marblchead Corporation, the Depositor and the Owner Trustee. The Owner Trustee shall be
        entitled to be reimbursed by the Administrator and, to the extent not paid by the Administrator,
        from the Trust Property for its reasonable expenses hereunder, including the reasonable
        compensation, expenses and disbursements of such agents, representatives, experts and counsel
        as the Owner Trustee may employ in connection with the exercise and performance of its rights
        and duties under this Agreement and the Trust Related Agreements.




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               Section 10.02 Indemnification.      The National Collegiate Funding LLC and The
       Education Resources Institute, Inc. shall be jointly and severally liable for, and hereby agree to,
       indemnify Wilmington Trust Company, individually and as Owner Trustee, and its successors,
       assigns, agents and servants, from and against any and all liabilities, obligations, losses,
       damages, taxes (other than taxes incurred as the result of the payment of fees and expenses
       pursuant to Section 10.01), claims, actions, suits, costs, expenses and disbursements (including
       legal fees and expenses) of any kind and nature whatsoever which may be imposed on, incurred
       by or asserted at any time against the Owner Trustee (whether or not indemnified against by
       other parties) in any way relating to or arising out of this Agreement, any Trust Related
       Agreement, the administration of the Trust Property or the action or inaction of the Owner
       Trustee hereunder, except only that the Owners shall not be required to indemnify the Owner
       Trustee for expenses arising or resulting from any of the matters described in the second
       sentence of Section 9.01. The indemnities contained in this Section 10.02 shall survive the
       termination of this Agreement. The obligations of The National Collegiate Funding LLC and The
       Education Resources Institute, Inc. pursuant to this Section 10.02 shall be bome in proportion to
       their respective Percentage Interests. The indemnities contained in this Section 10.02 extend only
       to the Owner Trustee in its individual capacity.

               Section 10.03 Lien on Trust Property. Following the retirement of the Notes, the Owner
        Trustee shall have a lien on the Trust Property for any compensation or expenses and indemnity
        due hereunder which lien shall be prior to all other liens.

               Section 10.04 Payments to the Owner Trustee. Any amounts paid to the Owner Trustee
        from the Trust Property pursuant to this Article X shall be deemed not to be part of the Trust
        Property immediately after such payment.

                                                  ARTICLE XI

                                          TERMINATION OF TRUST

               Section 11.01 Termination of Trust.

                 (a)   The trust created hereby shall dissolve and terminate and, except as otherwise
        provided in this Article XI, this Agreement shall be of no further force or effect, upon the earlier
        of (i) if the Notes are no longer outstanding, the unanimous consent of the Owners, (ii) if the
        Notes are no longer outstanding, the sale or other final disposition by the Owner Trustee of the
        Trust Property and the final distribution by the Owner Trustee of all funds or other property or
        proceeds of the Trust Property in accordance with the terms of this Agreement and the Trust
        Related Agreements, and (iii) 21 years less one day after the death of the survivor of the
        descendants living on the date of this Agreement of Joseph P. Kennedy, the late Ambassador of
        the United States to the Court of St. James.

                (b)      The bankruptcy, death, incapacity, dissolution or termination of any Owner shall
        not operate to dissolve or terminate this Agreement, nor entitle. such Owner's legal
        representatives or heirs to claim an accounting or to take any action or proceeding in any court
        for a partition or winding up of the Trust Property, nor otherwise affect the rights, obligations
        and liabilities of the parties hereto.


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                (c)    Upon the termination of the Trust pursuant to this Article XI, the Owner Trustee
        shall cause a Certificate of Termination to be filed with the Secretary of State.

               Section 11.02 Distribution of Assets. Upon dissolution and termination of the Trust, the.
        Owner Trustee shall take full account of the Trust assets and liabilities, shall liquidate the assets
        as promptly as is consistent with obtaining the fair value thereof, and shall apply and distribute
        the proceeds therefrom in the following order:

                 (a)   To the payment of the expenses of liquidation and the debts and liabilities of the
        Trust;

                (b)     To the setting up of reserves which the Owner Trustee may deem necessary or
        appropriate for anticipated obligations or contingencies of the Trust arising out of or in
        connection with the operation of the Trust. Such reserves may be paid over by the Owner Trustee
        to an escrow agent or trustee selected by the Owner Trustee to be disbursed by such escrow
        agent or trustee in payment of any of such obligations or contingencies and, if any balance
        remains at the expiration of such period as the Owner Trustee shall deem advisable, to be
        distributed by such escrow agent or trustee in the manner hereinafter provided;

               (c)    To each of the Owners, other than TERI, in accordance with the positive balances
        in each such Owner's Capital Account to the extent of the aggregate unretumed Capital
        Contributions of such Owner credited therein; and

                (d)     To the Owners, the balance of any proceeds in accordance with the positive
        balances in their respective Capital Accounts; provided that with respect to any distribution to
        TERI, such distribution shall be reduced by the amount of money paid to TERI by the Trust in
        accordance with paragraph 4 of the Section 2.05 Supplement to Master Loan Guaranty
        Agreement between TERI and The First Marblehead Corporation dated April 30, 2001 less the
        amount by which aggregate Distributions to TERI of Net Cash Flow pursuant to Section 7.06
        hereof have been reduced by the application of subsection (iii) thereof, and any such reduction
        shall be distributed to the Owners other than TERI in accordance with the positive balances in
        their respective Capital Accounts.

        If, at the time of liquidation, the Owner Trustee shall determine that an immediate sale of some
        or all of the assets would cause undue loss to the Owners, the Owner Trustee may, in order to
        avoid such loss and with the consent of the Owners, defer liquidation.

               Section 11.03 No Termination by Depositor or Owners. Except as provided in
        Section 11.01, neither the Depositor nor the Owners shall be entitled to terminate or revoke the
        Trust established hereunder.




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                                                  ARTICLE XII

               SUCCESSOR OWNER TRUSTEES AND ADDITIONAL OWNER TRUSTEES

               Section 12.01 Resignation of Owner Trustee: Appointment of Successor.

                (a)     The Owner Trustee may resign at any time without cause by giving at least 60
        days' prior written notice to the Administrator, the Owners and the Administrative Agent, such
        resignation to be effective upon the acceptance of appointment by a successor Owner Trustee
        under Section 12.01(b). In addition, the Super-majority Owners may at any time remove the
        Owner Trustee without cause by an instrument in writing delivered to the Owner Trustee and the
        Administrator, such removal to be effective upon the acceptance of appointment by a successor
        Owner Trustee under Section 12.01(b). In case of the resignation or removal of the Owner
        Trustee, the Owners may appoint a successor Owner Trustee by an instrument signed by the
        Owners. If a successor Owner Trustee shall not have been appointed within 30 days after the
        giving of written notice of such resignation or the delivery of the written instrument with respect
        to such removal, the Owner Trustee or the Owners may apply to any court of competent
        jurisdiction to appoint a successor Owner Trustee to act until such time, if any, as a successor
        Owner Trustee shall have been appointed as provided above. Any successor Owner Trustee so
        appointed by such court shall immediately and without further act be superseded by any
        successor Owner Trustee appointed as above provided within one year from the date of the
        appointment by such court.

                (b)     Any successor Owner Trustee, however appointed, shall execute and deliver to
        the predecessor Owner Trustee an instrument accepting such appointment, and thereupon such
        successor Owner Trustee, without further act (except for the filing required under clause (e)
        below), shall become vested with all the estates, properties, rights, powers, duties and trust of the
        predecessor Owner Trustee in the trusts hereunder with like effect as if originally named the
        Owner Trustee herein; but nevertheless, upon the written request of such successor Owner
        Trustee and the payment of all fees and indemnities due the predecessor Owner Trustee, such
        predecessor Owner Trustee shall execute and deliver an instrument transferring to such successor
        Owner Trustee, upon the trusts herein expressed, all the estates, properties, rights, powers, duties
        and trusts of such predecessor Owner Trustee, and such predecessor Owner Trustee shall duly
        assign, transfer, deliver and pay over to such successor Owner Trustee all funds or other property
        then held or subsequently received by such predecessor Owner Trustee upon the trusts herein
        expressed.

                (c)    Any successor Owner Trustee, however appointed, shall be a bank or trust
        company (i) that meets the requirements of (A) Rule 3(a)(7) promulgated under the Investment
        Company Act of 1940, as amended, and (B) section 3807 of the Statutory Trust Statute and (ii)
        whose parent entity has a combined capital and surplus of at least $50,000,000, if there be such
        an institution willing, able and legally qualified to perform the duties of the Owner Trustee
        hereunder upon reasonable or customary terms.

               (d)    Any corporation into which the Owner Trustee may be merged or converted or
        with which it may be consolidated, or any corporation resulting from any merger, conversion or
        consolidation to which the Owner Trustee shall be a party, or any corporation to which

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        substantially all the corporate trust business of the Owner Trustee may be transferred, shall,
        subject to the terms of Section 12.01(c), be the Owner Trustee under this Agreement without
        further act.

               (e)     Any successor Owner Trustee appointed pursuant to this Article XII shall file an
        amendment to the Certificate of Trust with the Secretary of State reflecting the name and
        principal place of business of such successor Owner Trustee.

                Section 12.02 Appointment of Additional Owner Trustees. At any time or times for the
        purpose of meeting any legal requirements of any jurisdiction in which any part of the Trust
        Property may at the time be located, the Owner Trustee and the Administrator, acting jointly, by
        an instrument in writing, may appoint one or more individuals or corporations approved by the
        Administrator and the Owner Trustee to act as separate trustee or separate trustees of all or any
        part of the Trust Property to the full extent that local law makes it necessary or appropriate for
        such separate trustee or separate trustees to act alone. If the Administrator shall not have joined
        in such appointment within fifteen days after the receipt of such request, the Owner Trustee,
        acting alone, shall have the power to make such appointment.

                                                  ARTICLE XIII

                                          TAX MATTERS PARTNER

                Section 13.01 Tax Matters Partner. The tax matters partner (within the meaning of
        section 6231(a)(7) of the Code and applicable Regulations) of the Trust for all federal income tax
        purposes set forth in the Code shall be The National Collegiate Funding LLC. Subject to
        Section 13.08, the tax matters partner shall have the authority to represent the Trust and perform
        the duties imposed on the tax matters partner under the Code, and as set forth in this Article XIII.

              Section 13.02 Notice of Tax Audit. The tax matters partner shall give prompt notice to
        the Owners upon receipt of advice that the Internal Revenue Service intends to examine Trust
        income tax returns for any year.

                Section 13.03 Authority to Extend Period for Assessing Tax. Subject to Section 13.08,
        the tax matters partner shall have the authority to extend the period for assessing any tax imposed
        on any Owner under the Code by any agreement as provided for under section 6229(b)(1)(B) of
        the Code.

                Section 13.04 Choice of Forum for Filine Petition for Readjustment. Any petition for
        readjustment may, but is not required to, be filed by the tax matters partner in accordance with
        section 6226(a) of the Code in the United States District Court for the district in which the
        Trust's principal place of business is located, or the United States Claims Court.

                Section 13.05 Authority to Bind Owners by Settlement Agreement. Subject to
        Section 13.08, the tax matters partner shall enter into a settlement agreement in accordance with
        section 6224(c)(3) of the Code as directed by the Owners.

               Section 13.06 Notices Sent to the Internal Revenue Service. The tax matters partner
        shall use its best efforts to furnish to the Internal Revenue Service the name, address, profits

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        interest and taxpayer identification number of each Owner and any additional information it
        receives from each Owner regarding any change in that Owner's name, address, profits interest
        and taxpayer identification number. In no event shall the tax matters partner be liable,
        responsible or accountable in damages or otherwise to the Owner for any loss in connection with
        furnishing such information to the Internal Revenue Service if the tax matters partner acts in
        good faith and is not guilty of fraud or gross negligence.

                Section 13.07 Indemnification of Tax Matters Partner. The Trust shall indemnify and
        save harmless the tax matters partner against any loss, damage, cost or expense (including
        attorneys' fees) incurred by it as a result of any act performed or omitted on behalf of the Trust
        or any Owner or in furtherance of the Trust's interests or the interests of the Owner, in its
        capacity as tax matters partner, without, however, relieving the tax matters partner of liability for
        bad faith, fraud or gross negligence.

                Section 13.08 Approval of Tax Matters Partner's Decisions. The tax matters partner
        shall call a meeting of the Owners at any time in order to discuss any decisions the tax matters
        partner may propose to make, notice of which shall be included in the notice of such meeting.
        The tax matters partner shall make no decision and take no action with respect to the
        determination, assessment or collection of any tax imposed by the Code on the Owners unless
        and until such decision has been approved by the Owners.

              Section 13.09 Participation bv Owners in Internal Revenue Service Administrative
        Proceedings. Nothing contained in this Article XIII shall be construed to take away from any
        Owner any right granted to such person by the Code to participate in any manner in
        administrative proceedings of the Internal Revenue Service.

                                                  ARTICLE XIV

                                               MISCELLANEOUS

               Section 14.01 Supplements and Amendments.

                (a)      This Agreement may be amended only by a written instrument signed by the
        Owner Trustee and all of the Owners at the time of such amendment and upon satisfaction of the
        Rating Agency Condition (as defined in the Indenture); provided, however, that if, in the opinion
        of the Owner Trustee, any instrument required to be so executed adversely affects any right, duty
        or liability of, or immunity or indemnity in favor of, the Owner Trustee under this Agreement or
        any of the documents contemplated hereby to which the Owner Trustee or the Trust is a party, or
        would cause or result in any conflict with or breach of any terms, conditions or provisions of, or
        default under, the charter documents or by-laws of the Owner Trustee or any document
        contemplated hereby to which the Owner Trustee is a party, the Owner Trustee may in its sole
        discretion decline to execute such instrument. The Certificate of Trust shall be amended (except
        as required by the Statutory Trust Statute) only upon satisfaction of the Rating Agency Condition
        (as defined in the Indenture). The Owner Trustee shall be fully protected in relying upon a
        certificate of the Administrator in determining if the Rating Agency Condition (as defined in the
        Indenture) has been satisfied.



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               (b)   The Trust shall not change its jurisdiction of formation without first satisfying the
        Rating Agency Condition (as defined in the Indenture).

                Section 14.02 No Legal Title to Trust Property in Owner. Legal title to all Trust
        Property shall be vested at all times in the Trust as a separate legal entity, except where the laws
        of any jurisdiction require title to be vested in a trustee in which case legal title shall be vested in
        the Owner Trustee on behalf of the Trust. The Owners shall not have legal title to any part of the
        Trust Property and shall only have an undivided beneficial interest therein. No transfer, by
        operation of law or otherwise, of any right, title and interest of the Owners in and to their
        undivided Beneficial Interests in the Trust Property hereunder shall operate to terminate this
        Agreement or the trusts hereunder or entitle any successor transferee to an accounting or to the
        transfer to it of legal title to any part of the Trust Property.

                Section 14.03 Pledge of Collateral by Owner Trustee is Binding. The pledge of any
        Trust Property to any Person by the Owner Trustee made under any Trust Related Agreement
        and pursuant to the terms of this Agreement shall bind the Owners and shall be effective to
        transfer or convey the rights of the Owner Trustee and the Owners in and to such Trust Property
        to the extent set forth in such Trust Related Agreement. No purchaser or other grantee shall be
        required to inquire as to the authorization, necessity, expediency or regularity of such pledge or
        as to the application of any proceeds with respect thereto by the Owner Trustee.

               Section 14.04 Limitations on Rights of Others. Nothing in this Agreement, whether
        express or implied, shall be construed to give to any Person other than the Owner Trustee, the
        Administrator and the Owners any legal or equitable right, remedy or claim in the Trust Property
        or under or in respect of this Agreement or any covenants, conditions or provisions contained
        herein provided, however, that for so long as any of the Notes are outstanding or any amounts
        are owed to the Indenture Trustee, the Noteholders are third party beneficiaries hereof.

                Section 14.05 Notices. Unless otherwise expressly specified or permitted by the terms
        hereof, all notices shall be in writing and delivered by hand or mailed by certified mail, postage
        prepaid, if to the Owner Trustee, addressed to: Wilmington Trust Company, 1100 North Market
        Street, Wilmington, Delaware, 19890, Attention: Corporate Trust Administration, or to such
        other address as the Owner Trustee may have set forth in a written notice to the Owners; and if to
        an Owner, addressed to it at the address set forth for such Owner in the register maintained by
        the Owner Trustee. Whenever any notice in writing is required to be given by the Owner Trustee
        hereunder, such notice shall be deemed given and such requirement satisfied 72 hours after such
        notice is mailed by certified mail, postage prepaid, addressed as provided above; any notice
        given by an Owner to the Owner Trustee shall be effective upon receipt by an Authorized Officer
        of the Owner Trustee. A copy of any notice delivered to the Owner Trustee shall also be
        delivered to the Administrator, addressed to: First Marblehead Data Services, Inc., The
        Prudential Tower, 800 Boylston Street - 34th Floor, Boston, MA 02199-8157, Attention: Ms.
        Rosalyn Bonaventure, with a copy to First Marblehead Corporation, The Prudential Tower, 800
        Boylston Street - 34th Floor, Boston, MA 02199-8157, Attention: Corporate Trust
        Administration, or to such other addresses as the Administrator may have set forth in a written
        notice to the Owner Trustee.




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          Section 14.06 Severability. Any provision of this Agreement which is prohibited or
   unenforceable in any jurisdiction shall, as to such jurisdiction, be ineffective to the extent of such
   prohibition or unenforceability without invalidating the remaining provisions hereof, and any
   such prohibition or unenforceability in any jurisdiction shall not invalidate or render
   unenforceable such provision in any other jurisdiction.

          Section 14.07 Separate Counterparts. This Agreement may be executed by the parties
   hereto in separate counterparts, each of which when so executed and delivered shall be an
   original, but all such counterparts shall together constitute but one and the same instrument.

          Section 14.08 Successors and Assigns. All covenants and agreements contained herein
   shall be binding upon, and inure to the benefit of, the Owner Trustee and its successors and
   assigns and each Owner and its successors and permitted assigns, all as herein provided. Any
   request, notice, direction, consent, waiver or other instrument or action by an Owner shall bind
   the successors and assigns of such Owner.

            Section 14.09 Headings. The headings of the various Articles and Sections herein are
    for convenience of reference only and shall not define or limit any of the terms or provisions
    hereof.

           Section 14.10 Governing Law. This Agreement shall in all respects be governed by, and
    construed in accordance with, the laws of the State of Delaware (excluding conflict of law rules),
    including all matters of construction, validity and performance.

           Section 14.11 General Interpretive Principles. For purposes of this Agreement, except as
    otherwise expressly provided or unless the context otherwise requires:

           (a)     The defined terms in this Agreement include the plural as well as the singular, and
    the use of any gender herein shall be deemed to include any other gender;

           (b)    Accounting terms not otherwise defined herein have the meanings assigned to
    them in accordance with generally accepted accounting principles as in effect on the date hereof;

           (c)    References herein to "Articles," "Sections," "paragraphs" and other subdivisions
    without reference to a document are to designated Articles, Sections, paragraphs and other
    subdivisions of this Agreement;

            (d)    A reference to a paragraph without further reference to a Section is a reference to
    such paragraph as contained in the same Section in which the reference appears, and this rule
    shall also apply to subparagraphs and other subdivisions;

            (e)     The words "herein," "hereof," "hereunder" and other words of similar import
    refer to this Agreement as a whole and not to any particular provision; and

          (f)    The term "include" or "including" shall mean without limitation by reason of
    enumeration.




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              IN WITNESS WHEREOF, the parties hereto have caused this Trust Agreement to the
       duly executed by their respective officers hereunto duly authorized, as of the day and year first
       above written.

                                                   WILMINGTON TRUST COMPANY, not in its
                                                   individual capacity except as expressly provided




                                                                     Financial Services Officer

                                                   THE NATIONAL COLLEGIATE FUNDING,
                                                   LLC, as Depositor and Owner

                                                   By:     GATE Holdings, Inc., Member


                                                         By:
                                                                Name: John A. Hupalo
                                                                Title: President


                                                   THE EDUCATION RESOURCES INSTITUTE,
                                                   INC., as Owner


                                                   By:
                                                         Name:
                                                         Title:

       ACKNOWLEDGED WITH RESPECT
       TO THE POWER ATTORNEY
       GRANTED IN SECTION 4.05

       FIRST MARBLEHEAD DATA SERVICES, INC.


       By:
               Name: Rosalyn Bonaventure
               Title: President




       Trust Agreement (NCSLT 2006-4)




CONFIDENTIAL                                                                                      WILMTC0002590
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               IN WITNESS WHEREOF, the parties hereto have caused this Trust Agreement to the
        duly executed by their respective officers hereunto duly authorized, as of the day and year first
        above written.

                                                    WILMINGTON TRUST COMPANY, not in its
                                                    individual capacity except as expressly provided
                                                    herein, but solely as Owner Trustee


                                                    By:
                                                          Name:
                                                          Title:


                                                    THE NATIONAL COLLEGIATE FUNDING,
                                                    LLC, as Depositor and Owner

                                                    By:     GATE Holdings, Inc., Member




                                                    THE EDUCATION RESOURCES INSTITUTE,
                                                    INC., as Owner


                                                    By:
                                                          Name:
                                                          Title:

       ACKNOWLEDGED WITH RESPECT
       TO THE POWER ATTORNEY
       GRANTED IN SECTION 4.05

       FIRST MARBLEHEAD DATA SERVICES, INC.




               Title:   President




       Trust Agreement (NCSLT 2006-4)




CONFIDENTIAL                                                                                       WILMTC0002591
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                 IN WITNESS WHEREOF, the parties hereto have caused this Trust Agreement to the
          duly executed by their respective officers hereunto duly authorized, as of the day and year first
          above written.

                                                      WILMINGTON TRUST COMPANY, not in its
                                                      individual capacity except as expressly provided
                                                      herein, but solely as Owner Trustee


                                                      By:
                                                            Name:
                                                            Title:


                                                      THE NATIONAL COLLEGIATE FUNDING,
                                                      LLC, as Depositor and Owner

                                                      By:     GATE Holdings, Inc., Member


                                                            By:
                                                                     Name: John A. Hupalo
                                                                     Title: President


                                                      THE EDUCATION RESOURCES INSTITUTE,
                                                      INC., as Owner


                                                      By:
                                                            Name       Willis J. Hulings!
                                                            Title:     President and Chief Executive
                                                                       Officer

          ACKNOWLEDGED WITH RESPECT
          TO THE POWER ATTORNEY
          GRANTED IN SECTION 4.05

          FIRST MARBLEHEAD DATA SERVICES, INC.


          By:
                Name: Rosalyn Bonaventure
                Title: President




          Trust Agreement (NCSLT 2006-4)




CONFIDENTIAL                                                                                             WILMTC0002592
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                                                       SCHEDULEA

                                        Capital Contributions         Sharing Ratio    Percentage Interest
                Owners                           (S)                      {•/.                (%)

        The National Collegiate
                                               $1.00                       75.2748%*           75.2748%*
        Funding LLC

       The Education Resources
                                                None                       24.7252%*           24.7252%*
       Institute, Inc.

         Subject to final reconciliation.




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                                               SCHEDULE B
                                               Loan Originators


               Bank of America, N.A.

               Charter One Bank, N.A.

               Citizens Bank of Rhode Island

               First National Bank Northeast

               GMAC Bank

               HSBC Bank USA, National Association

               The Huntington National Bank

               JPMorgan Chase Bank, N.A. (as successor to Bank One, N.A.)

               KeyBank, N.A.

               Manufacturers and Traders Trust Company

               National City Bank

               PNC Bank, N.A.

               Sovereign Bank

               SunTrust Bank

               TCF National Bank.

               U.S. Bank, N.A.




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CONFIDENTIAL                                                                WILMTC0002594
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                                         SCHEDULE C
                                    Loan Purchase Agreements


   Each of the Note Purchase Agreements, as amended or supplemented, was entered into by and
   between The First Marblehead Corporation and:

      •   Bank of America, N.A., dated April 30, 2001, for loans that were originated under Bank
          of America's BAGEL Loan Program, TERI Alternative Loan Program and ISLP Loan
          Program.                                                      .
      •   Bank of America, N.A., dated June 30, 2006, for loans that were originated under Bank
          of America's BAGEL Loan Program, TERI Alternative Loan Program and ISLP Loan
          Program.
      •   Bank of America, N.A., dated June 30, 2003, for loans that were originated under Bank
          of America's Direct to Consumer Loan Program.
      •   Bank of America, N.A., dated April 1,2006, for loans that were originated under Bank of
          America's Direct to Consumer Loan Program.
      •   Charter One Bank, N.A., dated as of December 29, 2003 for loans that were originated
          under Charter One's AAA Southern New England Bank Loan Program.
      •   Charter One Bank, N.A., dated October 31, 2003, for loans that were originated under
          Charter One's AES EducationGAIN Loan Program.
      •   Charter One Bank, N.A., dated May 15, 2002, for loans that were originated under
          Charter One's CFS Direct to Consumer Loan Program.
      •   Charter One Bank, N.A., dated June 30, 2003, for loans that were originated under
          Charter One's Citibank Education Assistance Loan Program.
      •   Charter One Bank, N.A., dated July 1,2002, for loans that were originated under Charter
          One's College Loan Corporation Loan Program.
      •   Charter One Bank, N.A., dated December 1, 2003, for loans that were originated under
          Charter One's Custom Educredit Loan Program.
      •   Charter One Bank, N.A., dated May 10, 2004, for loans that were originated under
          Charter One's EdFinancial Loan Program.
      •   Charter One Bank, N:A., dated September 15, 2003, for loans that were originated under
          Charter One's Extra Credit II Loan Program (North Texas Higher Education).
      •   Charter One Bank, N.A., dated September 20, 2003, for loans that were originated under
          Charter One's M&I Alternative Loan Program.
      •   Charter One Bank, N.A., dated November 17, 2003, for loans that were originated under
          Charter One's National Education Loan Program.
      •   Charter One Bank, N.A., dated May 15, 2002, for loans that were originated under
          Charter One's NextStudent Alternative Loan Program.
      •   Charter One Bank, N.A., dated March 26, 2004, for loans that were originated under
          Charter One's NextStudent Private Consolidation Loan Program.
      •   Charter One Bank, N.A., dated March 25, 2004, for loans that were originated under
          Charter One's Astrive and AstriveAlliance Education Loan Programs.
      •   Charter One Bank, N.A., dated May 15, 2003, for loans that were originated under
          Charter One's WAMU Alternative Student Loan Program.
      •   Charter One Bank, N.A., dated February 15, 2005, for loans that were originated under
          Charter One's Referral Loan Program (including loans in the UPromise Alternative Loan

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          Program, Collegiate Solutions Alternative Loan Program, College Board Alternative
          Loan Program, Axiom Alternative Loan Program, and ThinkFinancial Alternative Loan
          Program).
      •   Citizens Bank of Rhode Island, dated April 30,2004, for loans that were originated under
          Citizens Bank of Rhode Island's Alternative Loan Program, Compass Bank Alternative
          Loan Program, FinanSure Alternative Loan Program, Navy Federal Alternative Loan
          Program, and Xanthus Alternative Loan Program.
      •   Citizens Bank of Rhode Island, dated October 1, 2002, for loans that were originated
          under Citizens Bank of Rhode Island's Penn State Undergraduate Loan Program.
      •   First National Bank Northeast, dated August 1,2001, for loans that were originated under
          First National Bank Northeast's Nelnet Undergraduate Alternative Loan Program.
      •   GMAC Bank, dated May 30, 2003, for loans that were originated under GMAC Bank's
          Alternative Loan Program
      •   IISBC Bank USA, National Association, dated April 17, 2002, as amended on June 2,
          2003 and August 1,2003, for loans that were originated under the HSBC Loan Program.
      •   The Huntington National Bank, dated May 20,2003, for loans that were originated under
          The Huntington National Bank's Huntington Bank Education Loan Program.
      •   JPMorgan Chase Bank, N.A„ (successor to Bank One, N.A.), dated May 1, 2002, for
          loans that were originated under Bank One's CORPORATE ADVANTAGE Loan
          Program, EDUCATION ONE Loan Program, and Campus One Loan Program.
      •   KeyBank, dated May 12, 2006, for loans that were originated under KeyBank's Private
          Education Loan Program.
      •   Manufacturers and Traders Trust Company, dated April 29, 2004, for loans that were
          originated under Manufacturers and Traders Trust Company's Alternative Loan Program.
      •   National City Bank, dated November 13, 2002, for loans that were originated under
          National City Bank's National City Loan Program.
      •   National City Bank, dated July 21, 2006, for loans that were originated under National
          City Bank's Referral Loan Program, including the Astute Private Loan Program.
      •   PNC Bank, N.A., dated April 22,2004, for loans that were originated under PNC Bank's
          Alternative Conforming Loan Program, Brazos Alternative Loan Program, Edvisors
          Alternative Loan Program, GE Money Bank Alternative Loan Prorgam, Old National
          Bank Alternative Loan Program, Regions Bank Alternative Loan Program, and Varsity
          Group Alternative Loan Program.
      •   Sovereign Bank, dated April 30, 2004, for loans that were originated under Sovereign
          Bank's Alternative Loan Program.
      •   SunTrust Bank, dated March 1, 2002, for loans that were originated under SunTrust
          Bank's SunTrust Alternative Loan Program.
      •   TCF National Bank, dated July 22, 2005, for loans that were originated under TCF
          National Bank's Alternative Loan Program.
      •   U.S. Bank, N.A., dated May 1, 2005, for loans that were originated under U.S Bank's
          Alternative Loan Program.




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                                          SCHEDULE D
                                        Guaranty Agreements


   Each of the following Guaranty Agreements, as amended or supplemented, was entered into by
   and between The Education Resources Institute, Inc. and:

       •   Bank of America, N.A., dated April 30, 2001, for loans that were originated under Bank
           of America's BAGEL Loan Program, TERI Loan Program and ISLP Loan Program.
       •   Bank of America, N.A., dated June 30, 2006, for loans that were originated under Bank
           of America's BAGEL Loan Program, TERI Loan Program and ISLP Loan Program.
       •   Bank of America, N.A., dated June 30, 2003, for loans that were originated under Bank
           of America's Direct to Consumer Loan Program.
       •   Charter One Bank, N.A., dated as of December 29, 2003 for loans that were originated
           under Charter One's AAA Southern New England Bank Loan Program.
       •   Charter One Bank, N.A., dated October 31, 2003, for loans that were originated under
           Charter One's AES EducationGAIN Loan Program.
       •   Charter One Bank, N.A., dated March 25, 2004, for loans that were originated under
           Charter One's Astrive and AstriveAlliance Education Loan Program.
       •   Charter One Bank, N.A., dated May 15, 2002, for loans that were originated under
           Charter One's CPS Direct to Consumer Loan Program.
       •   Charter One Bank, N.A., dated June 30, 2003, for loans that were originated under
           Charter One's Citibank Education Assistance Loan Program.
       •   Charter One Bank, N.A., dated July 1,2002, for loans that were originated under Charter
           One's College Loan Corporation Loan Program.
       •   Charter One Bank, N.A., dated December 1, 2003, for loans that were originated under
           Charter One's Custom Educredit Loan Program.
       •   Charter One Bank, N.A., dated May 10, 2004, for loans that were originated under
           Charter One's Edfinancial Loan Program.
   •   •   Charter One Bank, N.A., dated September 15, 2003, for loans that were originated under
           Charter One's Extra Credit II Loan Program (North Texas Higher Education).
   •   •   Charter One Bank, N.A., dated September 20,2003, for loans that were originated under
           Charter One's M&I Alternative Loan Program.
       •   Charter One Bank, N.A., dated November 17, 2003, for loans that were originated under
           Charter One's National Education Loan Program.
       •   Charter One Bank, N.A., dated May 15, 2002, for loans that were originated under
           Charter One's NextStudent Alternative Loan Program.
       •   Charter One Bank, N.A., dated March 26, 2004, for loans that were originated under
           Charter One's NextStudent Private Consolidation Loan Program.
       •   Charter One Bank, N.A., dated May 15, 2003, for loans that were originated under
           Charter One's WAMU Alternative Student Loan Program.
       •   Charter One Bank, N.A., dated February 15, 2005, for loans that were originated under
           Charter One's Referral Loan Program, including the UPromise Alternative Loan
           Program, Collegiate Solutions Alternative Loan Program, College Board Alternative
           Loan Program, Axiom Alternative Loan Program, and ThinkFinancial Alternative Loan
           Program.


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      •   Citizens Bank of Rhode Island, dated April 30,2004, for loans that were originated under
          Citizens Bank of Rhode Island's Alternative Loan Program, Compass Bank Alternative
          Loan Program, FinanSure Alternative Loan Program, Navy Federal Alternative Loan
          Program, and Xanthus Alternative Loan Program.
      •   Citizens Bank of Rhode Island, dated October 1, 2002, for loans that were originated
          under Citizens Bank of Rhode Island's Pcnn State Undergraduate Loan Program.
      •   First National Bank Northeast, dated August 1,2001, for loans that were originated under
          First National Bank Northeast's CASL Undergraduate Alternative Loan Program.
      •   GMAC Bank, dated May 30, 2003, for loans that were originated under GMAC Bank's
          Alternative Loan Program.
      •   HSBC Bank USA, National Association, dated April 17, 2002, for loans that were
          originated under the HSBC Loan Program.
      •   The Huntington National Bank, dated May 20,2003, for loans that were originated under
          The Huntington National Bank's Huntington Bank Education Loan Program.
      •   JPMorgan Chase Bank, N.A., (successor to Bank One, N.A.,) dated May 13, 2002, for
          loans that were originated under Bank One's CORPORATE ADVANTAGE Loan
          Program, EDUCATION ONE Loan Program, and Campus One Loan Program.
      •   KeyBank, dated May 12, 2006, for loans that were originated under KeyBank's Private
          Education Loan Program.
      •   Manufacturers and Traders Trust Company, dated April 29, 2004, for loans that were
          originated under Manufacturers and Traders Trust Company's Alternative Loan Program.
      •   National City Bank, dated July 26, 2002, for loans that were originated under National
          City Bank's National City Loan Program.
      •   National City Bank, dated July 21, 2006, for loans that were originated under National
          City Bank's Referral Loan Program, including the Astute Private Loan Program.
      •   PNC Bank, N.A., dated April 22,2004, for loans that were originated under PNC Bank's
          Alternative Conforming Loan Program, Brazos Alternative Loan Program, Edvisors
          Alternative Loan Program, GE Money Bank Alternative Loan Prorgam, Old National
          Bank Alternative Loan Program, Regions Bank Alternative Loan Program, and Varsity
          Group Alternative Loan Program
      •   Sovereign Bank, dated April 30, 2004, for loans that were originated under Sovereign
          Bank's Alternative Loan Program.
      •   SunTrust Bank, dated March 1, 2002, for loans that were originated under SunTrust
          Bank's SunTrust Alternative Loan Program.
      •   TCF National Bank, dated July 22, 2005, for loans that were originated under TCF
          National Bank's Alternative Loan Program.
      •   U.S. Bank, N.A., dated May 1, 2005, for loans that were originated under U.S Bank's
          Alternative Loan Program.




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                                               EXHIBIT 1

                                 FORM OF TRUST CERTIFICATE

               THE NATIONAL COLLEGIATE STUDENT LOAN TRUST 2006-4

                                        TRUST CERTIFICATE

   THE BENEFICIAL INTEREST IN THE TRUST REPRESENTED BY THIS TRUST
   CERTIFICATE HAS NOT BEEN REGISTERED UNDER THE SECURITIES ACT OF
   1933, AS AMENDED (THE "ACT"), OR ANY STATE SECURITIES LAW, AND MAY
   NOT BE DIRECTLY OR INDIRECTLY OFFERED OR SOLD OR OTHERWISE
   DISPOSED OF (INCLUDING PLEDGED) BY THE HOLDER HEREOF UNLESS IN
   THE OPINION OF COUNSEL SATISFACTORY TO THE OWNER TRUSTEE, SUCH
   TRANSACTION IS EXEMPT FROM REGISTRATION UNDER THE ACT AND STATE
   SECURITIES LAWS. THE TRANSFER OF THIS TRUST CERTIFICATE WILL NOT
   BE EFFECTIVE UNLESS THE TRANSFEREE HAS DELIVERED TO THE OWNER
   TRUSTEE A LETTER IN THE FORM REQUIRED BY SECTION 3.04(A) OF THE
   TRUST AGREEMENT AND THE TRANSFEREE PROVIDES THE OWNER TRUSTEE
   WITH EVIDENCE SATISFACTORY TO THE OWNER TRUSTEE DEMONSTRATING
   THE TRANSFEROR'S COMPLIANCE WITH SECTION 3.04(B) OF THE TRUST
   AGREEMENT.

                                  TRUST CERTIFICATE
                           UNDER THE TRUST AGREEMENT, DATED
                                   as of December 7,2006

   Certificate No.

   Wilmington Trust Company, not in its individual capacity, but solely as owner trustee (the
   "Owner Trustee") under the Trust Agreement, dated as of December 7, 2006, with The National
   Collegiate Funding LLC and The Education Resources Institute, Inc., on behalf of the holders
   from time to time (each an "Owner") of beneficial interests in the trust created thereby (the
   "Trust Agreement"), hereby certifies that                        is the owner of an undivided
   beneficial interest equal to the percentage listed on Schedule A to the Trust Agreement in the
   Trust Property provided for and created by the Trust Agreement. This Trust Certificate is issued
   pursuant to and is entitled to the benefits of the Trust Agreement, and each Owner by acceptance
   hereof shall be bound by the terms of the Trust Agreement. Reference is hereby made to the
   Trust Agreement for a statement of the rights and obligations of the Owner hereof. The Owner
   Trustee may treat the person shown on the register maintained by the Owner Trustee pursuant to
   Section 3.02 of the Trust Agreement as the absolute Owner hereof for all purposes.

   Capitalized terms used herein without definition have the meanings ascribed to them in or by
   reference in the Trust Agreement.

   Transfer of this Trust Certificate is subject to certain restrictions and limitations set forth in the
   Trust Agreement, including the requirement that any transfer requires the prior consent of
   owners of at least 85% of the Percentage Interests in the Trust. In the manner more fully set forth

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   in, and as limited by, the Trust Agreement, this Trust Certificate may be transferred upon the
   books of the Owner Trustee by the registered Owner in person or by his attorney duly authorized
   in writing upon surrender of this Trust Certificate to the Owner Trustee accompanied by a
   written instrument of transfer and with such signature guarantees and evidence of authority of the
   Persons signing the instrument of transfer as the Owner Trustee may reasonably require,
   whereupon the Owner Trustee shall issue in the name of the transferee a Trust Certificate or
   Trust Certificates evidencing the amount and extent of interest of the transferee.

   The Owner hereof, by its acceptance of this Trust Certificate, warrants and represents to the
   Owner Trustee and to the Owners of the other Trust Certificates issued under the Trust
   Agreement and agrees not to transfer this Trust Certificate except in accordance with the Trust
   Agreement.

   This Trust Certificate may not be acquired or held by a Plan. By accepting and holding this
   Trust Certificate, the Owner hereof shall be deemed to have represented and warranted that it is
   not a Plan.

   This Trust Certificate and the Trust Agreement shall in all respects be governed by, and
   construed in accordance with, the laws of the State of Delaware (excluding conflict of law rules),
   including all matters of construction, validity and performance.




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               IN WITNESS WHEREOF, the Owner Trustee, pursuant to the Trust Agreement, has
        caused this Trust Certificate to be issued as of the date hereof.


                                             WILMINGTON TRUST COMPANY, not in its
                                             individual capacity, but solely as Owner Trustee


                                             By:
                                                     Name:
                                                     Title:




        Dated:




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                                             EXHIBIT 2

                             FORM OF ACCESSION AGREEMENT



   Wilmington Trust Company
   1100 North Market Street
   Wilmington, Delaware 19890
   Attention:

   Dear Sirs:

           We refer to the Trust Agreement, dated as of December 7,2006 (the "Trust Agreement"),
   among The National Collegiate Funding LLC (the "Company"), The Education Resources
   Institute, Inc. and Wilmington Trust Company, a Delaware banking corporation (in its capacity
   as trustee thereunder, the "Owner Trustee"). We propose to purchase a beneficial interest in The
   National Collegiate Student Loan Trust 2006-4, a Delaware statutory trust (the "Trust") formed
   pursuant to the Trust Agreement. Capitalized terms used herein without definition have the
   meanings given them in the Trust Agreement.

   1.     We understand that our Trust Certificate is not being registered under the Securities Act
          of 1933, as amended (the "1933 Act"), or any state securities or "Blue Sky" law and is
          being sold to us in a transaction that is exempt from the registration requirements of the
          1933 Act and any applicable state laws.

   2.     We have knowledge and experience in financial and business matters as to be capable of
          evaluating the merits and risks of an investment in the Trust, we are able to bear the
          economic risk of investment in the Trust and we are an "accredited investor" as defined
          in Regulation D under the 1933 Act.

   3.     We acknowledge that none of the Trust, the Company or the Owner Trustee has advised
          us concerning the federal or state income tax consequences of owning a beneficial
          interest in the Trust, including the tax status of the Trust or the likelihood that
          distributions from the Trust would be characterized as "unrelated business income" for
          federal tax purposes, and we have consulted with our own tax advisor with respect to
          such matters.

   4.     We are acquiring our Trust Certificate for our own account and not for the benefit of any
          other person and not with a view to any distribution of our beneficial interest in the Trust
          subject, nevertheless, to the understanding that disposition of our property shall at all
          times be and remain within our control.

   5.     We agree that our beneficial interest in the Trust must be held indefinitely by us unless
          subsequently registered under the 1933 Act and any applicable state securities or "Blue
          Sky" law or unless exemptions from the registration requirements of the 1933 Act and
          applicable state laws are available.


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        6.     We agree that in the event that at some future time we wish to dispose of or exchange any
               of our beneficial interest in the Trust, we will not transfer or exchange any of our
               beneficial interest in the Trust unless we have obtained the prior written consent to such
               transfer or exchange pursuant to Section 3.04 of the Trust Agreement, and either:

               (A)    (1) the transfer or exchange is made to an Eligible Purchaser (as defined below),
                      (2) a letter to substantially the same effect as this letter is executed promptly by
                      such Eligible Purchaser, and (3) all offers or solicitations in connection with the
                      sale (if a sale), whether made directly or through any agent acting on our behalf,
                      are limited only to Eligible Purchasers and are not made by means of any form of
                      general solicitation or general advertising whatsoever; or

               (B)    our beneficial interest in the Trust is sold in a transaction that does not require
                      registration under the 1933 Act and any applicable State "Blue Sky" law.

       "Eligible Purchaser" means a corporation, partnership or other entity which we have reasonable
       grounds to believe and do believe can make representations with respect to itself to substantially
       the same effect as the representations set forth herein.

        7.     We understand that our Trust Certificate bears a legend to substantially the following
               effect:

        THE BENEFICIAL INTEREST IN THE TRUST REPRESENTED BY THIS TRUST
        CERTIFICATE HAS NOT BEEN REGISTERED UNDER THE SECURITIES ACT OF 1933,
        AS AMENDED (THE "ACT"), OR ANY STATE SECURITIES LAW, AND MAY NOT BE
        DIRECTLY OR INDIRECTLY OFFERED OR SOLD OR OTHERWISE DISPOSED OF
        (INCLUDING PLEDGED) BY THE HOLDER HEREOF UNLESS IN THE OPINION OF
        COUNSEL SATISFACTORY TO THE OWNER TRUSTEE SUCH TRANSACTION IS
        EXEMPT FROM REGISTRATION UNDER THE ACT AND STATE SECURITIES LAWS.
        THE TRANSFER OF THIS TRUST CERTIFICATE WILL NOT BE EFFECTIVE UNLESS
        THE TRANSFEREE HAS DELIVERED TO THE OWNER TRUSTEE A LETTER IN THE
        FORM REQUIRED BY SECTION 3.04(A) OF THE TRUST AGREEMENT AND THE
        TRANSFEREE PROVIDES THE OWNER TRUSTEE WITH EVIDENCE SATISFACTORY
        TO THE OWNER TRUSTEE DEMONSTRATING THE TRANSFEROR'S COMPLIANCE
        WITH SECTION 3.04(B) OF THE TRUST AGREEMENT.




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        8.      We agree to be bound by all terms and conditions of our Trust Certificate and the Trust
                Agreement.

                                                    Very truly yours.




                                                    Name of Purchaser


                                                    By:
                                                               Name:
                                                               Title:


        Accepted and Acknowledged this         1,1 day   of


        WILMINGTON TRUST COMPANY, not in its
        individual capacity, but solely as Owner Trustee


        By:
               Name:
               Title:




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